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14

15                       UNITED STATES DISTRICT COURT

16                      CENTRAL DISTRICT OF CALIFORNIA

17
     DENIECE WAIDHOFER, an individual,            Case No. 2:20-cv-06979
18

19                               Plaintiff,       COMPLAINT FOR DAMAGES
     v.
20

21   CLOUDFLARE, INC., a Delaware
     corporation; BANGBROS, INC., a Florida
22   corporation; MULTI MEDIA LLC, a              [DEMAND FOR JURY TRIAL]
23   California limited liability company;
     THOTHUB.TV; and JOHN DOES 1-21,
24

25                           Defendants.
26

27

28
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 1         Plaintiff Deniece Waidhofer (“Waidhofer”) files this complaint against
 2
     Cloudflare, Inc. (“Cloudflare”); BangBros, Inc. (“BangBros”); Multi Media LLC
 3

 4   (“Chaturbate”); the pirate website Thothub.tv (“Thothub”); and twenty-one John

 5   Doe Defendants that operate Thothub (the “Members”) (collectively, “Defendants”)
 6
     to recover damages, injunctive relief, and other relief for their violations of the
 7

 8   Racketeering Influenced and Corrupt Organizations Act (RICO), Copyright Act, and

 9   other torts. In support of these claims, Plaintiff would respectfully show the Court as
10
     follows.
11

12                            I.    SUMMARY OF THE CASE
13         1.     This is an action to stop a pirate website called Thothub, its Members,
14
     and co-conspirators from continuing to distribute digital content stolen from
15

16   Waidhofer, a popular creator on the emergent social media platforms OnlyFans and
17   Patreon, and to hold accountable Thothub and its co-conspirators for exploiting
18
     Waidhofer’s works and body for their own ends.
19

20         2.     Plaintiff Waidhofer is a creator on www.onlyfans.com (“OnlyFans”)
21   and www.patreon.com (“Patreon,” and together with OnlyFans, the “Licensed
22
     Sites”), two social media platforms that allow content creators to sell access to their
23

24   digital content to paid subscribers and fans. Waidhofer’s published content consists
25
     of artistic, non-nude photographs of herself, mostly in lingerie or costume. She is
26
     one of the most successful creators on the Licensed Sites. For example, her earnings
27

28   place her among the top 1% of all creators on OnlyFans.

                                                 2
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 1         3.     Thothub and the Members—with the material support of the other
 2
     Defendants—caused Waidhofer’s content to be stolen from the Licensed Sites and
 3

 4   unlawfully published on Thothub. In addition, Thothub published certain of

 5   Waidhofer’s unpublished works that reveal her partially nude body, which
 6
     Waidhofer never intended to publish. After being published on Thothub and
 7

 8   downloaded by many of its one-million-plus members, Waidhofer’s published and

 9   unpublished works have been widely disseminated across the Internet and seen by
10
     millions of people. This has caused, and continues to cause, personal, reputational,
11

12   and monetary harm to Waidhofer.
13         4.     The Licensed Sites allow digital content creators to distribute their
14
     photographic and audiovisual works directly to paid subscribers and to be
15

16   compensated for subscribers’ access to that content. Subscribers on the Licensed
17   Sites pay for access to content from particular creators. A large portion of the
18
     content that appears on the Licensed Sites is provocative in nature, often including
19

20   revealing images of the creators themselves. Through the Licensed Sites, creators
21   can keep track of all the subscribers that have access to their content and personal
22
     images, and creators receive the lion’s share of the money that their subscribers pay
23

24   to view the content.
25
           5.     Thothub is a pirate site that bills itself as “the home of daily free leaked
26
     nudes from the hottest Onlyfans … and [P]atreon models” and “the biggest e-girl
27

28   showcase in the world.” As one of the managing Members, who goes by the handle

                                                3
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 1   “Captain Thotcakes,” explains in a pinned moderator message to new recruits from
 2
     whom Thothub seeks stolen content: “We are looking exclusively for PAID material
 3

 4   / LEAKED photos and vids / PREMIUM content. (Stuff that’s not easily available

 5   to the public / or is locked behind the paywall / subscription) Examples: Patreon,
 6
     Onlyfans … stuff like that.” Most of the content that appears on Thothub is material
 7

 8   that was scraped from behind the paywalls of the Licensed Sites. This content is

 9   only supposed to be available to paid subscribers through the Licensed Sites.
10
     Thothub’s primary purpose—its raison d’etre—is to steal this exclusive, behind-the-
11

12   paywall content from the Licensed Sites and unlawfully distribute it to millions of
13   its associates.
14
            6.     Each day, Thothub trades terabytes upon terabytes of content—each
15

16   terabyte equates to hundreds of thousands of photos and hundreds of hours of
17   video—stolen from creators on the Licensed Sites. According to web traffic
18
     analytics, Thothub gets nearly one million daily visitors and generates substantial
19

20   annual advertising revenue. As a result of Thothub’s willful copyright infringement,
21   millions of people in the United States and around the world have seen Waidhofer’s
22
     creative works, including revealing images of her own body, without her consent or
23

24   compensation. Meanwhile, Thothub and the Members—and Cloudflare and the
25
     Advertiser Defendants—have profited.
26
            7.     Thothub has all the hallmarks of an organized crime outfit. It is run by
27

28   shadowy figures using aliases who impose a detailed structure on other members

                                               4
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 1   through defined rules, privileges, and ranks. Its principal business is illegal activity:
 2
     criminal copyright infringement. In order to become a Thothub member, new users
 3

 4   are effectively extorted by the Members to submit stolen content, not unlike a street

 5   gang that requires commission of a crime to prove one’s commitment to the criminal
 6
     enterprise. The Members routinely post “bounties” to steal from particular creators.
 7

 8   If the new members provide the stolen property to Thothub, the Members reward the

 9   theft by bestowing greater rank and privileges within the enterprise. Thothub is like
10
     a pyramid scheme of theft. Its recurring pattern of theft and extortion is exactly the
11

12   kind of criminal racketeering activity that RICO was enacted to prevent.
13         8.     Defendant Cloudflare is a co-conspirator of Thothub that aids and abets
14
     Thothub’s criminal activity. Cloudflare contracts with Thothub to provide content
15

16   delivery and security services for Thothub. In this role, Cloudflare makes
17   unauthorized copies of creators’ stolen copyrighted works on its computer systems
18
     and optimizes Thothub’s display of infringing works throughout the United States
19

20   and worldwide, directly and indirectly infringing and contributing materially to
21   Thothub’s unlawful use of creators’ works, including Waidhofer’s works.
22
           9.     Cloudflare also acts as a lookout man for Thothub, masking Thothub’s
23

24   true identity and server locations. This prevents creators from effectively enforcing
25
     their rights against Thothub. This is a major selling point for Cloudflare.
26
     Cloudflare’s permissive approach to repeat infringement, and its willingness to
27

28   pretend it can do nothing to stop the repeat infringement, is highly attractive for

                                                5
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 1   pirates like Thothub. According to a recent European Commission report that placed
 2
     Cloudflare on a global Counterfeit and Piracy Watch List, “Out of the top 500
 3

 4   infringing domains based on global Alexa rankings, 62% (311) are using

 5   Cloudflare’s services.”
 6
           10.    In exchange for Cloudflare’s content delivery services and anonymity
 7

 8   protection, Thothub pays Cloudflare pursuant to a services agreement. Due to its

 9   contractual relationship with Thothub, the numerous takedown requests it has
10
     received related to Thothub (including written notice describing Thothub’s focus on
11

12   pirating content), and Thothub’s open and notorious proclamations of its piracy,
13   among other things, Cloudflare knows or is willfully blind to the fact that Thothub is
14
     a criminal enterprise. Despite this knowledge, in return for compensation,
15

16   Cloudflare continues to serve Thothub and continues to contribute materially to
17   Thothub’s criminal activity. As such, Cloudflare is a party to the RICO conspiracy
18
     and is liable for the harm it causes.
19

20         11.    Defendants BangBros and Chaturbate (together, the “Advertiser
21   Defendants”) are two of Thothub’s most prolific paid advertisers. Chaturbate—one
22
     of the world’s largest live adult content companies—posts dynamic advertisements
23

24   on Thothub that feature direct, live video feeds of Chaturbate webcams at all times,
25
     indicating a continuous connection with Thothub’s networks. Clicking on the link
26
     sends a user directly into the live Chaturbate session depicted in the ad. Likewise,
27

28


                                               6
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 1   Thothub is flooded with BangBros ads that, if clicked, take users directly to
 2
     BangBros’ sales page.
 3

 4         12.    As major players in the online adult content industry, the Advertiser

 5   Defendants know, and cannot reasonably avoid knowing, that Thothub is a pirate
 6
     site. They know that Thothub specializes in content stolen from the Licensed Sites,
 7

 8   emerging competitors that threaten their business. Indeed, marketing to Thothub’s

 9   consumer niche—i.e., those seeking paid, amateur-oriented, adult content—is a big
10
     reason why the Advertisers Defendants advertise on Thothub to begin with.
11

12         13.    Despite knowing that Thothub routinely and systematically engages in
13   copyright infringement, the Advertiser Defendants provide material assistance by
14
     paying to advertise on Thothub, which enables Thothub to cover the costly web-
15

16   hosting and content delivery fees it incurs in distributing terabytes upon terabytes of
17   stolen content to millions of users. The Advertiser Defendants’ willful cooperation
18
     with Thothub drives sales for their own sites while directly undermining their top
19

20   competition by causing the leaking of creators’ works. In exchange for the financial
21   support, Thothub does not publish content stolen from the Advertiser Defendants.
22
     The Advertiser Defendants are parties to the RICO conspiracy and liable for the
23

24   harm it causes.
25
           14.    It is time for Thothub’s pirate enterprise to be shut down and for those
26
     that enable Thothub’s piracy to act reasonably and responsibly to stop supporting
27

28   Thothub. Through this action, Plaintiff seeks to enforce her rights to control the use

                                               7
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 1   and display of her works and body through injunctive relief, damages, and other
 2
     appropriate relief for harm caused by Defendants’ racketeering conspiracy,
 3

 4   copyright infringement, unfair competition, and other violations of her rights.

 5                                  II.   THE PARTIES
 6
           15.    Plaintiff Deniece Waidhofer (“Waidhofer”) is an individual who
 7

 8   resides in Fort Bend County, Texas. She can be contacted through her undersigned

 9   attorneys.
10
           16.    Defendant Thothub.tv (“Thothub”) is a pirate website available at
11

12   https://thothub.tv (“Thothub”). The true identity of Thothub (e.g., whether it has any
13   formal corporate structure or registration) is unknown. Thothub is available to be
14
     viewed online, and has been viewed by many people in this judicial district.
15

16   Through discovery from the other Defendants in this action, Plaintiff hopes to learn
17   where Thothub can be served with process. Alternatively, if the identity of a proper
18
     agent for service of process cannot be ascertained with respect to Thothub, service
19

20   may be made under California law by posting the summons where it is reasonably
21   calculated to give actual notice of the pendency of the action, such as on the
22
     Thothub forums.
23

24         17.    John Does 1–21 (the “Members”) are unidentified persons that purport
25
     to be Thothub’s managing members and hold themselves out as persons with
26
     authority to control Thothub. The Members each identify themselves on the Thothub
27

28   site using a pseudonym. Specifically, the respective Members go by the following

                                               8
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 1   names on Thothub: (1) Captain Thotcakes; (2) Teller; (3) GOD; (4) Ironman891; (5)
 2
     Merchant; (6) Cityzen7; (7) Vassar; (8) Azrael; (9) Ewoklove; (10) RealAccount;
 3

 4   (11) Nick712; (12) Swix; (13) Nudeleaks; (14) Tallie; (15) Bigsausagestromboli;

 5   (16) TonyStark420; (17) Thighdeologist; (18) El Drago; (19) De_sercier; (20)
 6
     SWEDISH CHEF; and (21) FatherofSlain. The true identities of the Members are
 7

 8   unknown. 1 The Members have purposefully directed relevant conduct to this district

 9   because they have directly or indirectly infringed copyrights in this district. Through
10
     discovery from the other Defendants, Plaintiff hopes to learn where the Members
11

12   can be served with process. Alternatively, if the identity of the John Does cannot be
13   ascertained, service may be made under California law by posting the summons on
14
     the Thothub forums where it is reasonably calculated to give actual notice to the
15

16   John Does of the pendency of the action.
17          18.     Defendant Cloudflare, Inc. (“Cloudflare”) is a public Delaware
18
     corporation with principal place of business in San Francisco, California. Cloudflare
19

20   offers a variety of web-based services, including infrastructure support, content
21   delivery networking, DDoS mitigation, and distributed domain-name-server
22
     services. Cloudflare can be served with process through its registered agent,
23

24

25

26   1
       Plaintiff believes it has uncovered the actual names and identities of some Members through
     independent investigation. However, given the seriousness of these allegations, Plaintiff will
27   confirm their identities through discovery served upon the other Defendants, to the extent possible,
28   before naming the Members publicly.


                                                      9
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 1    Registered Agent Solutions, Inc., at 9 E. Loockerman Street, Suite 311, Dover,
 2
      Delaware 19901.
 3

 4          19.    Defendant BangBros, Inc. (“BangBros”) is an adult entertainment

 5    company based in Miami, Florida. BangBros operates dozens of adult-content
 6
      websites, including BangBros Network. BangBros regularly conducts business in
 7

 8    this district and provides its subscription services and media content to many

 9    residents in this district. BangBros can be served with process through its registered
10
      agent, believed to be Jeff Greenberg at 10840 SW 113 Place, Miami, Florida 33176.
11

12          20.    Defendant Multi Media LLC (“Chaturbate”) is an entertainment
13    company based in Lake Forest, California. It operates an adult-oriented live webcam
14
      company called Chaturbate, which is one of the top 200 most trafficked websites in
15

16    the United States and the world. Chaturbate regularly conducts business in this
17    district and offers its subscription services and media content to residents in this
18
      district. Chaturbate can be served with process through its registered agent, believed
19

20    to be National Registered Agents, Inc., at 818 West Seventh Street, Suite 930, Los
21    Angeles, California 90017.
22
                            III.   JURISDICTION AND VENUE
23

24          21.    This Court has original jurisdiction over the RICO and Copyright Act
25
      claims under 28 U.S.C. § 1331 because these claims arise under the laws of the
26
      United States.
27

28


                                               10
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 1          22.    This Court has original jurisdiction over the state-law claims under 28
 2
      U.S.C. § 1332 because Plaintiff is a citizen of a different State from each known
 3

 4    Defendant and the amount in controversy exceeds the sum or value of $75,000,

 5    exclusive of interest and costs.
 6
            23.    This Court also has supplemental jurisdiction over the state-law claims
 7

 8    under 28 U.S.C. § 1367 because those claims are so related to claims over which

 9    this Court has original jurisdiction that they form part of the same case or
10
      controversy under Article III of the United States Constitution.
11

12          24.    Venue is proper in this Court under 28 U.S.C. § 1391 because a
13    substantial part of the events giving rise to the claims occurred in this judicial
14
      district. In addition, one of the four identified Defendants maintains its principal
15

16    place of business in this district, and two others maintain their principal place of
17    business in California.
18
                                IV.   FACTUAL ALLEGATIONS
19

20       A. The Licensed Sites Allow Creators to Sell Access to Their Digital
            Content.
21

22
            25.    The Licensed Sites—specifically, www.onlyfans.com (“OnlyFans”)

23    and www.patreon.com (“Patreon”)—are social media platforms that allow content
24
      creators to sell access to their own digital content, including photographs and
25

26    videos.

27

28


                                               11
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 1            26.     Pursuant to the terms of the user agreements for the Licensed Sites, as
 2
      described below, content creators retain full ownership of the content that they
 3

 4    upload onto the Licensed Sites. Other users on the Licensed Sites are not granted the

 5    right to distribute creators’ content.
 6
         i.         OnlyFans
 7

 8            27.     Founded in 2016, OnlyFans is a social media platform that allows users

 9    to upload photos and videos to their individual profiles. Users who upload content to
10
      the platform are referred to as “creators.” Creators may set a monthly subscription
11

12    price for access to their content and earn money from paid subscribers (often
13    referred to as “fans” on OnlyFans).
14
              28.     Fans purchase subscriptions through OnlyFans to view content made
15

16    available by particular OnlyFans creators that the fans wish to follow. Each creator
17    determines the monthly subscription fee for access to that creator’s OnlyFans
18
      content.
19

20            29.     Fans may also elect to pay “tips”—additional discretionary payments to
21    creators on an ad hoc, gratuitous basis—to particular content creators.
22
              30.     Creators may also communicate directly with fans. Through these
23

24    direct communications, creators may send fans pay-per-view content.
25
              31.     OnlyFans takes a small portion of all payments made by users to
26
      creators through the platform; the remainder of the payments goes to the relevant
27

28    creator.

                                                 12
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 1          32.    OnlyFans gives creators the ability to control who can see their content.
 2
      OnlyFans creators can elect to block particular fans from their content if they wish.
 3

 4          33.    OnlyFans requires all fans and creators (collectively, “Users”) that use

 5    the site to agree to certain terms of service (the “OnlyFans User Agreement”).
 6
            34.    The OnlyFans User Agreement provides that “[w]e [OnlyFans] do not
 7

 8    own User Content on OnlyFans.” The term “‘User Content’ means any and all

 9    media uploaded by Users.”
10
            35.    The OnlyFans User Agreement provides that creators are entitled to
11

12    receive 80% of the revenue generated from their content. Specifically, it provides:
13    “If a User uploads content (an ‘Uploading User’) then, subject to that User
14
      complying with these Terms, that User is entitled to 80% of the revenue generated
15

16    by other Users who subscribe to the uploading User’s content. Payment will be
17    made by or on behalf of OnlyFans to the uploading User.”
18
            36.    The OnlyFans User Agreement provides that Users may “not
19

20    reproduce, distribute, modify, create derivative works of, publicly display, publicly
21    perform, republish, download, store, or transmit any of the material on the Website,”
22
      except that the User’s “computer may temporarily store copies of such materials in
23

24    RAM incidental to [the User’s] accessing and viewing those materials”; “[the User]
25
      may store files that are automatically cached by [the User’s] Web browser for
26
      display enhancement purposes”; and “[the User] may print or download one copy of
27

28


                                                13
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 1    a reasonable number of pages of the Website for [the User’s] own personal, non-
 2
      commercial use and not for further reproduction, publication, or distribution.”
 3

 4             37.     The OnlyFans User Agreement also provides that Users may not “make

 5    unauthorized use of another’s information or content” or “display, publish or
 6
      distribute User content that … violates another’s copyright, trademark, right of
 7

 8    privacy, right of publicity, or other property or personal right (for example, using the

 9    name, likeness, image or other identity of another without proper consent).”
10
               38.     The OnlyFans User Agreement provides: “By creating and publishing
11

12    User Content on OnlyFans, you authorize your Fans to access and view (without
13    downloading or copying) your User Content on OnlyFans for their own lawful and
14
      personal use.”
15

16             39.     Beginning recently, creator photos that appear on OnlyFans have been
17    watermarked to identify them as content from OnlyFans. These watermarks can be
18
      seen on the images when viewing them with the naked eye and can also be
19

20    identified by computers using simple search algorithms.
21       ii.         Patreon
22
               40.     Founded in 2013, Patreon is a social media platform that allows
23

24    creators to make content available on the Patreon platform to paid subscribers (often
25
      referred to as “patrons” on Patreon).
26
               41.     Patreon utilizes a subscription-style payment model in which patrons
27

28    pay their favorite creators a monthly payment in exchange for access to the creator’s

                                                 14
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 1    content. Creators can also elect to charge patrons on a per-creation (pay-per-view)
 2
      basis.
 3

 4             42.   Patreon takes a percentage-based fee for all payments made to creators

 5    through the platform, depending on the type of plan the creator selects. For the
 6
      “Lite” plan, Patreon takes 5% of the creator’s monthly income.
 7

 8             43.   Patreon allows creators to set pricing tiers for access to different

 9    content. In addition, creators can establish “rewards”—i.e., access to additional
10
      content—for patrons that meet spending thresholds set by the creator.
11

12             44.   Patreon gives creators the ability to control who can see their content.
13    Patreon creators may elect to block particular patrons from their content if they
14
      wish.
15

16             45.   Patreon’s terms of use (“Patreon Terms”), which all users must accept,
17    provide that the creators “keep full ownership of all creations that [they] offer on
18
      Patreon.” The Patreon Terms continue: “By posting creations on Patreon, [creators]
19

20    grant [Patreon] a royalty-free, perpetual, irrevocable, non-exclusive, sublicensable,
21    worldwide license to use, reproduce, distribute, perform, publicly display or prepare
22
      derivative works of your creation. The purpose of this license is strictly limited to
23

24    allow [Patreon] to provide and promote memberships to [creators’] patrons.”
25
               46.   The Patreon Terms further provide that “[p]atrons may not use
26
      creations posted by creators in any way not authorized by the creator.”
27

28


                                                 15
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 1        B. Waidhofer Develops an Online Following and Uses the Licensed Sites.
 2
             47.     Waidhofer is one of the most popular creators on the Licensed Sites,
 3

 4    with earnings placing her among the top 1% of all creators on OnlyFans. She also

 5    has a substantial online following outside of the Licensed Sites. Her Instagram page
 6
      has over 1.9 million followers.
 7

 8           48.     Waidhofer grew up in a suburb of Houston, Texas. She graduated

 9    summa cum laude from high school, ranked number 14 out of a class of about 450
10
      students.
11

12           49.     In 2010, Waidhofer received her associate’s degree in pre-nursing from
13    Lone Star College, where she was honored on the Dean’s List. In 2014, Waidhofer
14
      earned her bachelor’s degree in business and graduated summa cum laude from Sam
15

16    Houston State University with a 3.89 GPA.
17           50.     Waidhofer began doing modeling shoots as a hobby in or around 2007.
18
      In or around 2015, Waidhofer began posting modeling photos on Instagram. By
19

20    2016, she had approximately 10,000 Instagram followers. By 2017, she had
21    approximately 100,000 Instagram followers.
22
             51.     In or around 2017, Waidhofer decided to set up a Patreon account as a
23

24    creator. On Patreon, Waidhofer posts artistic non-nude and “implied nude” 2 images
25
      of herself, typically in lingerie or costume. This content is only made available to
26

27    2
       “Implied nude” means that nudity is suggested, but private areas of the body are not visible to the
28    viewer.


                                                      16
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 1    paid subscribers. Waidhofer set up her Patreon content so that subscribers can gain
 2
      access to additional content by paying a higher subscription fee.
 3

 4          52.    Waidhofer receives a report showing all of her subscribers on Patreon

 5    each month and the amount that each subscriber paid for access to her content. Each
 6
      month Waidhofer receives, in total, several thousands of dollars in exchange for
 7

 8    allowing subscribers to access her digital content on Patreon. The amount varies

 9    from month to month depending on the number of subscribers and the content tier
10
      they purchase.
11

12          53.    In or around 2018, Waidhofer decided to set up an OnlyFans account as
13    a creator. On OnlyFans, Waidhofer posts artistic non-nude and implied nude images
14
      of herself, typically in lingerie or costume. This content is only made available to
15

16    paid subscribers. Waidhofer set the price for access to her OnlyFans content at about
17    $15 per month. Waidhofer also receives “tips” from fans.
18
            54.    Waidhofer receives a report showing all of her subscribers on OnlyFans
19

20    each month and the amount that she has received from fans. Each month Waidhofer
21    receives thousands of dollars in fees and tips in exchange for allowing subscribers to
22
      access her digital content on OnlyFans. The amount varies from month to month
23

24    depending on the number of subscribers and the number and amount of tips.
25
            55.    Despite considerable demand for nude photos, Waidhofer has
26
      consistently made clear that she has not published, and does not intend to publish,
27

28    any nude photos of herself. None of the content that she has published on the

                                               17
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 1    Licensed Sites (or elsewhere) reveals private parts of her body that would be
 2
      covered by a bikini, such as the genitals or bare breasts.
 3

 4          56.    Waidhofer creates all of her works herself. She purchased equipment

 5    including a camera, tripod, and lights to conduct her photoshoots. She spends
 6
      dozens of hours each week on average creating content, including by taking,
 7

 8    developing, and editing photographic works. She has also spent tens of thousands of

 9    dollars on wardrobe, makeup, and other accessories related to the content.
10
            57.    On rare occasions, Waidhofer has provided content directly to
11

12    subscribers. In or around April and July 2019, respectively, Waidhofer provided
13    three unpublished semi-nude photographs (showing her exposed breasts) to a few
14
      subscribers. She sent all three semi-nude photographs to a Patreon fan named
15

16    Matthew Cathey (“Cathey”), and she sent one semi-nude photograph to a person
17    named “Michael Tersigni.” These photos were provided privately for no
18
      compensation.
19

20       C. Thothub Steals Waidhofer’s Works, Including the Unpublished Works.
21          58.    In or around 2019, Waidhofer learned that some of her works had
22
      “leaked” onto a website called Thothub that specializes in publishing stolen content
23

24    from the Licensed Sites.
25
            59.    The Thothub site contains an “A-Z” glossary of some of the creators
26
      whose works appear on the site. The name “NIECE WAIDHOFER” appears on the
27

28    “A-Z” glossary. As of July 2020, clicking the name leads to a page that features two

                                                18
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 1    separate posts of Waidhofer’s featured content under the heading “#NIECE
 2
      WAIDHOFER NUDE.” Neither post indicates that the content is “verified.” 3
 3

 4           60.    The first set of Waidhofer’s content featured on Thothub’s publicly

 5    available pages is entitled “NIECE WAIDHOFER NUDE ONLYFANS LEAKED
 6
      VIDEO AND PHOTOS.” This page includes a composite video and 64 images of
 7

 8    Waidhofer, including three semi-nude photographs. All are Waidhofer’s proprietary

 9    content. Waidhofer did not authorize Thothub’s use of any of this content.
10
             61.    The second set of Waidhofer’s content featured on Thothub is entitled
11

12    “NIECE WAIDHOFER PATREON SEXY PHOTOS.” This page includes 50
13    images of Waidhofer. All are Waidhofer’s proprietary content. Waidhofer did not
14
      authorize Thothub’s use of any of this content.
15

16           62.    Waidhofer’s content has also appeared on the Thothub “forum”
17    (discussed below), and discussion on the forum shows that additional stolen content
18
      is available only to Thothub members. For example, in a message dated May 26,
19

20    2019 entitled “Niece Waidhofer,” the Member who goes by “tallie” posts one of
21    Waidhofer’s works from Patreon with the notation: “Niece Waidhofer sets. (Wip).”
22
      The term “Wip” is an acronym for “work in progress.” In another post that day,
23

24    tallie writes: “Ive got over 3000 images and 120ish gifs. It’s just… my laptop is KO
25
      so have to upload on mobile. And thats [sic] just awfully slow.” That same day,
26
      3
       As explained below, a very small percentage of the content on Thothub is said to be “verified,”
27    meaning that Thothub has verified that that the women depicted in the content has authorized the
28    use of the content on Thothub.


                                                     19
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 1    tallie posts links to two separate pages on a site called imgfrog.pw that contain
 2
      Waidhofer’s works stolen from her Patreon account. There are several additional
 3

 4    tallie posts in the thread showing Waidhofer’s stolen works.

 5          63.   Later in the same thread, a user thanks tallie for having posted the
 6
      stolen content. Tallie responds: “Ty [thank you] sir. Also. I have gifs of 100 to
 7

 8    300mb. Of high quality. Imgfrog only allow to 20 mb. But im editing in such way

 9    quality keeps 100 and hardly notice it. Also making gifs out of the gifs. Ya will see
10
      soon. … Hope you guys will like it. Otherwise me sad. Will post in sets of sets haha.
11

12    Later this evening.” Tallie’s reference to “editing” and “making gifs” shows that he
13    was unlawfully creating derivative works using Waidhofer’s content from the
14
      Licensed Sites.
15

16          64.   In another post dated November 12, 2019, the user “FatherofSlain”
17    writes: “I will have Patreon content flowing in within the coming weeks. Stay tuned
18
      for up to $100 tier posts.” The post includes Waidhofer’s stolen works from the
19

20    Licensed Sites.
21          65.   In a post dated November 18, 2019, a user named “djkoel3121” asks in
22
      reference to Waidhofer’s content from the Licensed Sites: “[A]ny chance of a sneak
23

24    peek of the $100 tier stuff?” A user named FatherofSlain, whose handle indicates
25
      that he is a “Thot Elder” and “High Roller,” responds: “MEGA will be ready either
26
      tomorrow pm or Wednesday depending on my work. Guaranteed every post from
27

28    $100 and under to the beginning, some $200 mixed in too but I can’t be sure. Im

                                               20
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 1    getting these second hand. I’m chatting with a potential $500 tier patron but I’ve yet
 2
      to see real proof so don’t get to [sic] excited for the highest tiers just yet.”
 3

 4          66.    In a post dated November 19, 2019, the user “Father of Slain” posts a

 5    link to a repository of Waidhofer’s stolen content on Mega.nz with the message:
 6
      “Here it is boys … Please DO NOT quote this post or the encryption key post in
 7

 8    case I need to delete/move things[.] I want as little record as possible.” The Mega

 9    link contained all of Waidhofer’s Patreon content as of that date.
10
            67.    In another post, the Member who goes by “Azrael” posts a link to a zip
11

12    file entitled “Niece.zip – AnonFiles” with the message that this file contains a “re-up
13    of OF [OnlyFans] rip.” The linked file contains an updated set of stolen content
14
      from Waidhofer’s OnlyFans account.
15

16          68.    In another post dated December 30, 2019, a user named “Mcathey7”
17    writes: “Have a full length vid plus extra paid the 1000 anyone willing to trade
18
      message.” On information and belief, this user is actually Cathey, the Patreon fan to
19

20    whom Waidhofer sent unpublished semi-nude photographs. In the December 30
21    post by “MCathey7,” one of those semi-nude photographs is attached. In a second
22
      post on that same day, MCathey7 writes: “More hope you guys match up.” This post
23

24    features another of Waidhofer’s unpublished semi-nude photographs that had been
25
      provided to Cathey.
26
            69.    In early 2020, through her attorneys, Waidhofer filed all of her
27

28    photographic works that appear on the Licensed Sites, as well as certain other

                                                  21
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 1    content, for copyright registration with the U.S. Copyright Office. She has received
 2
      copyright registrations under Registration # VAu001393201 and Registration
 3

 4    #VA0002201440. Additional applications remain pending.

 5          70.    Waidhofer sent three copyright-infringement notices to Thothub. The
 6
      first notice was delivered via Thothub’s online form. The second two notices were
 7

 8    sent via email to mythothub@gmail.com, a contact address listed on the Thothub

 9    website. Thothub did not respond to any of these notices, and Waidhofer’s
10
      proprietary content has remained on Thothub for several months after the notices
11

12    were delivered to Thothub.
13          71.    Through her attorneys, Waidhofer also sent copyright-infringement
14
      notices to Cloudflare. The notices informed Cloudflare of Thothub’s ongoing
15

16    infringement activities, Thothub and the Members’ open and notorious statements
17    about infringement, and other facts that show that Thothub is a pirate site that exists
18
      for the express purpose of committing copyright infringement, particularly against
19

20    creators on the Licensed Sites like Waidhofer. The notices also identified specific
21    URL locations on Thothub where Waidhofer’s stolen content appears. The notices
22
      also explained how Cloudflare had materially contributed, and continues to
23

24    contribute, to Thothub’s infringement.
25
            72.    To date, Cloudflare has not responded to the notice. On information
26
      and belief, however, Cloudflare passed the notice directly to Thothub and/or the
27

28    Members in order to warn them about Waidhofer’s complaints against Thothub.

                                                22
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 1          73.   Not only has Thothub displayed Waidhofer’s stolen content on its site,
 2
      it has allowed its network of over one million members to download the stolen
 3

 4    content. This predictably has led to further widespread dissemination of the content

 5    throughout the Internet. After the works were published on Thothub, they were
 6
      published on numerous other sites across the Internet.
 7

 8       D. Thothub’s Publication of Waidhofer’s Work Causes Her Harm.

 9          74.   Thothub’s unauthorized publication of Waidhofer’s content has caused,
10
      and continues to cause, harm. This harm includes both pecuniary harm (such as lost
11

12    subscription fees and royalties) and non-pecuniary harm (such as damage to
13    Waidhofer’s honor and reputation).
14
            75.   Regarding pecuniary harm, Thothub’s unlawful publication of
15

16    Waidhofer’s content has deprived her of subscription fees that she otherwise would
17    have received for access to her content. Waidhofer has also experienced a downturn
18
      in new subscriptions as a result of many of her works being available for free and
19

20    distributed on Thothub. As one commenter said, it is not “worth it” to subscribe to
21    Waidhofer’s account because much of her content is now available for free.
22
            76.   Waidhofer has also suffered harm as a result of her name and likeness
23

24    (which are known to hundreds of thousands or millions of people) being used
25
      without her permission. Waidhofer has not received any compensation for
26
      Thothub’s and its partners’ use of her name and likeness.
27

28


                                               23
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 1          77.    Waidhofer has also suffered significant harm to her honor and
 2
      reputation. Whereas only a very limited number of people had access to
 3

 4    Waidhofer’s works through the Licensed Sites and Waidhofer had a complete list of

 5    and control over all those with access, as a result of Thothub’s publication of her
 6
      works, millions of people have now seen Waidhofer’s works and Waidhofer does
 7

 8    not have control over who sees the works.

 9          78.    The mere fact that Waidhofer’s works now appear on a site called
10
      “Thothub” alongside works of hardcore pornography is damaging. Thothub and the
11

12    Members routinely degrade and objectify women by referring to them as “thots,” a
13    derogatory term that stands for “that hoe over there.”
14
            79.    Rather than having control over the setting and display of her works
15

16    and body, how these are displayed, and to whom they are displayed, Waidhofer’s
17    works and body have been displayed on Thothub to millions of unknown viewers
18
      alongside much more graphic content. The different setting for the display of
19

20    Waidhofer’s works has a significant effect on how the works and Waidhofer herself
21    are perceived, which in turn negatively affects Waidhofer’s honor and reputation.
22
            80.    Defendants display Waidhofer’s content on Thothub and describe her
23

24    to millions of viewers as a dehumanized sexual object that lacks control and agency
25
      over her works and body, how her works and body are used, and by whom. With
26
      every passing day, hundreds of thousands of people on Thothub have access to
27

28    Waidhofer’s works and view her as an object—or, in their words, a “thot.”

                                               24
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 1          81.   In addition, Waidhofer has suffered particular harm as the result of the
 2
      publication of the unpublished semi-nude photographs that she never intended to
 3

 4    publish. This has caused significant embarrassment and reputational harm to

 5    Waidhofer, which has frayed Waidhofer’s personal relationships and caused
 6
      emotional harm to Waidhofer.
 7

 8          82.   Waidhofer never intended to publish any nude or semi-nude

 9    photographs. If she ever decided to do so, she had the right to determine when, how,
10
      to whom, and for what price that would be done. Thothub and its associates made
11

12    these decisions for her without authorization. Now Waidhofer’s semi-nude photos
13    are widely available across the Internet and have been seen by millions.
14
            83.   The widespread dissemination of Waidhofer’s works by Thothub has
15

16    adversely affected her ability to get a job in business, despite her summa cum laude
17    degree in business.
18
            84.   The publication of the photos has also caused significant emotional
19

20    distress to Waidhofer. Leaked images of Waidhofer, including the partially nude
21    photos that she never intended to publish, now overwhelm references to
22
      Waidhofer’s beloved father’s obituary in online searches for her fairly unique
23

24    surname. Waidhofer’s father passed away in the Spring of 2019 after a battle with
25
      cancer.
26
            85.   Thothub’s publication and dissemination of her works to a mass
27

28    audience has been “shameful,” “life-changing,” “life-ending,” “awful” and

                                               25
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 1    “embarrassing” for Waidhofer. She describes the feeling of losing control over her
 2
      works and body as one of “immediate hopelessness.”
 3

 4          86.    While Waidhofer has suffered both personal and financial harm,

 5    Thothub and the Members have profited from the unlawful use of Waidhofer’s
 6
      content through subscription fees and advertising revenue paid to Thothub. In
 7

 8    addition, they have profited indirectly through the receipt of other stolen content that

 9    they received, in part, as a result of allowing those that provide stolen content to
10
      access Thothub’s library of stolen works.
11

12          87.    The Advertiser Defendants have also profited from the unlawful use of
13    Waidhofer’s content through sales generated from Thothub. The Advertiser
14
      Defendants have used Waidhofer’s works to drive traffic and sales to their own site,
15

16    without compensating Waidhofer.
17          88.    Cloudflare has profited from the unlawful use of Waidhofer’s content
18
      through fees it receives from Thothub for services rendered.
19

20       E. Thothub Features Creator Content Stolen from the Licensed Sites.
21          89.    As noted above, Thothub is a website that bills itself as “the home of
22
      daily free leaked nudes from the hottest Onlyfans, twitch, youtube, patreon models
23

24    and streamers.” This description is in the text for the first search result on the
25
      Google search engine for the query “Thothub.”
26

27

28


                                                26
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 1          90.    As this billing explains, the site specializes in providing sexually
 2
      oriented content that has been “leaked”—a euphemism for stolen—from other sites,
 3

 4    particularly the Licensed Sites.

 5          91.    The fact that Thothub deliberately traffics in content stolen from the
 6
      Licensed Sites is well known in the adult entertainment industry. As one prominent
 7

 8    reviewer of online adult entertainment, put it: “Thot Hub [sic] is the perfect place

 9    for all of you who like to enjoy thots showing you all of their goods but don’t like
10
      paying for it.” This language is in the text for the second search result on the Google
11

12    search engine for the query “Thothub.”
13          92.    The review goes on to say of Thothub: “Sure, you can see some
14
      highlights on the website where the thots (that hoe over there) are actually doing
15

16    their live cam show, but you don’t have to end up paying top puck in order to watch
17    those. Instead, there are sites that take those videos and present them to you for free.
18
      One such site is Thothub.tv.” The review then reiterates in large font that Thothub
19

20    provides “[f]ree content that you’d otherwise have to pay for.”
21          93.    Several other online adult-content reviewers well-known to the industry
22
      recognize that Thothub is a leading site for viewing stolen paywall content,
23

24    especially from the Licensed Sites.
25
            94.    The Thothub homepage features links to photo and video sets of
26
      various women, with each link showing thumbnail screenshots from the content
27

28    available through the link. These links are regularly updated with new stolen content

                                                27
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 1    that Thothub has acquired by extorting its network of associates (as explained in
 2
      further detail below).
 3

 4           95.    In the desktop version of Thothub, links are generally arranged in three

 5    columns, with three rows visible in the frame before scrolling. Each link contains a
 6
      notation in the bottom left of the thumbnail that indicates if the content was taken
 7

 8    from OnlyFans, Patreon or another site, and many of the links also describe the

 9    origin of the content in the title for the post.
10
             96.    In addition to the desktop version, Thothub also offers a mobile
11

12    version. The mobile version of the site features the same content arranged in a single
13    column.
14
             97.    Clicking on any of the content links takes the user to a separate
15

16    Thothub webpage where the stolen photographic and video content from the
17    Licensed Sites appears. This content from the Licensed Sites was intended to be
18
      available only to the respective creator’s paid subscribers from the Licensed Sites.
19

20    However, Thothub displays the unauthorized content for free to its visitors and does
21    not compensate the women that own, and whose personal likenesses appear in, the
22
      content.
23

24           98.    The vast majority of the content on Thothub was stolen from the
25
      Licensed Sites. For example, between June 8 and July 8, 2020, there were at least
26
      208 new photo or video sets that were posted on the Thothub homepage and that
27

28


                                                   28
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 1    remained live as of July 8. Of those, 146 linked to content indicated to be from
 2
      OnlyFans, and 49 linked to content indicated to be from Patreon.
 3

 4          99.    In addition to the stolen and leaked content, Thothub offers a small

 5    amount of so-called “verified” content. Some linked albums indicate in the corner of
 6
      the thumbnail that the content is “verified.” In order to become “verified,” according
 7

 8    to a statement by Thothub on the website, a model must provide “a demo

 9    image/video set and a link to one of [her] preferred monetization pages” and must
10
      submit a “photo of [herself] holding up a sign with [her] username and thothub.tv
11

12    written on it” in which “most of [her] face” is visible, among other requirements. In
13    this way, Thothub ensures that the model has authorized the use of her content and
14
      likeness on Thothub.
15

16          100. Only a small fraction of the content on Thothub is “verified.” For
17    example, out of the 208 posts that appeared on the homepage between June 8 and
18
      July 8, 2020, only seven indicate that the content was “verified.” In total, based on
19

20    the number of linked sets that appear under the “Verified” tab on the Thothub
21    homepage, there have only been 38 “verified” posts (out of several thousand total
22
      posts) in Thothub’s entire history. Several of the “verified” posts depict the same
23

24    woman.
25
            101. The vast majority of the content that appears on Thothub is
26
      “unverified.” Thothub knows, or reasonably should know, that this unverified
27

28


                                               29
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 1    content is unauthorized and stolen. Indeed, as explained below, Thothub and its
 2
      Members actively induce associates to steal this content.
 3

 4          102. One of the tabs at the top of the Thothub homepage reads “A-Z.”

 5    Clicking this link pulls up an alphabetized glossary of some of the creators whose
 6
      stolen works appear on Thothub. Clicking on any name in the glossary leads to a
 7

 8    separate Thothub page where content from the selected creator appears. As of July

 9    2020, there are 563 different women listed in the glossary, including Waidhofer.
10
      The vast majority of these women (about 90%) are creators from the Licensed Sites,
11

12    and clicking on any of their names leads to Thothub pages that display content
13    stolen from the Licensed Sites.
14
            103. Thothub knows that it does not have authorization to display these
15

16    works. In recognition of that, Thothub states at the bottom of the homepage:
17    “THOTHUB.TV IS A PARODY. IT PROVIDES AN AUTOMATIC STREAM OF
18
      CONTENT SENT IN FROM E-GIRLS.” The reference to “parody” implies that the
19

20    content is published without the creators’ permission.
21          104. This notation falsely asserts that the content is “sent in from e-girls,”
22
      when in fact, the majority of content on Thothub is actually stolen. A parody is an
23

24    imitation of a copyrighted work that is presented for a different purpose usually to a
25
      different audience, typically for humorous or satirical effect. The notation ignores
26
      the obvious purpose of the site to display paid content for free. The material that
27

28


                                               30
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 1    appears on Thothub—direct copies of paywall content directed to a similar audience
 2
      for a similar purpose—cannot be characterized as parody.
 3

 4          105. As one adult entertainment reviewer explains in his review: “At the

 5    very bottom of ThotHub.tv you’ll see the claim that the website is a ‘parody’: I
 6
      don’t think they know what that word means because all of the stuff I’m seeing here
 7

 8    is 100% real.”

 9       F. The Members Operate Thothub and/or Act as Its Agents.
10
            106. Thothub is a RICO enterprise managed and operated by the Members,
11

12    with assistance from its co-conspirators, including Cloudflare, BangBros, and
13    Chaturbate.
14
            107. The Members’ statements on Thothub indicate that the Members
15

16    regularly exercise authority and control over the Thothub community, that they have
17    the ability to grant or restrict access to site features or content, that they have the
18
      right and ability to control content that appears on Thothub, that they enter into
19

20    contracts on behalf of Thothub (including with advertisers like the Advertiser
21    Defendants and service providers like Cloudflare), and that they have access to the
22
      background technical infrastructure, computer systems, and servers that operate
23

24    Thothub.
25
            108. The Members communicate with other users on Thothub through an
26
      online “forum” on the site. The forum can be accessed through a tab at the top of the
27

28


                                                31
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 1    homepage      labeled    “Forums.”   The    web     address    for   the   forums    is
 2
      http://forum.thothub.tv.
 3

 4          109. In the forum, registered users can post messages under a username.

 5    Some users’ handles indicate that they have attained particular status on the site. For
 6
      example, the handles identify certain senior users as a “Moderator,” “High Roller,”
 7

 8    or “VIP,” among other titles. On the other hand, newer users on the site have less

 9    prestigious titles such as “Lurker,” “Starter,” or “Member.”
10
            110. The username for each of the Members indicates that the unidentified
11

12    individuals behind those usernames have attained certain status in the Thothub
13    enterprise. In particular:
14
                • “Captain Thotcakes” indicates that he/she is a “Moderator,” “High
15

16                 Roller,” and “VIP”;
17
                • “Teller” indicates that he/she is a “Moderator” and “High Roller”;
18
                • “GOD” indicates that he/she is a “Founder,” “High Roller,” and
19

20                 “Father of All”;
21
                • “Ironman891” indicates that he/she is “The Pit Crew” and a “High
22

23                 Roller”;

24              • “Merchant” indicates that he/she is a “Moderator,” “High Roller,” and
25
                   “VIP”;
26

27              • “Cityzen7” indicates that he/she is a “Moderator” and “High Roller”;
28


                                                 32
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 1             • “Vassar” indicates that he/she is “The Gang,” a “Moderator,” “High
 2
                  Roller,” and “VIP”;
 3

 4             • “Azrael” indicates that he/she is a “Moderator,” “High Roller,” and
 5                “VIP”;
 6
               • “Ewoklove” indicates that he/she is a “Thot Master” and “High
 7

 8                Roller”;
 9
               • “RealAccount” indicates that he/she is a “Moderator,” “High Roller,”
10
                  and “VIP”;
11

12             • “Nick7712” indicates that he/she is a “Moderator,” “High Roller,” and
13
                  “VIP”;
14

15             • “Swix” indicates that he/she is a “Moderator,” “High Roller,” and

16                “VIP”;
17
               • “Nudeleaks” indicates that he/she is “The Gang,” “Moderator,” and
18

19                “High Roller”;
20             • “Tallie” indicates that he/she is “The Gang”;
21
               • “Bigsausagestromboli” indicates that he/she is a “Moderator” and
22

23                “High Roller”;
24
               • “TonyStark420” indicates that he/she is a “Moderator” and “High
25
                  Roller”;
26

27

28


                                             33
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 1              • “Thighdeologist” indicates that he/she is a “Moderator” and “High
 2
                   Roller”;
 3

 4              • “El Drago” indicates that he/she is a “Moderator” and “High Roller”;
 5
                • “De_sercier” indicates that he/she is a “Moderator,” “High Roller,” and
 6
                   “VIP”;
 7

 8              • “SWEDISH CHEF” indicates that he/she is a “Moderator,” “High
 9
                   Roller,” and “VIP”;
10

11
                • “FatherofSlain” indicates that he/she is a “Thot Elder” and “High

12                 Roller.”
13
            111. The Forum contains several separate sub-forums, including (a)
14

15
      “Thothub News”; (b) “Verified models”; (c) “Self Promotion”; (d) “The pit – Where

16    new users are welcomed.”; (e) “Tech Support”; (f) “General”; (g) “Off Topic /
17
      Memes”; (h) “Reviews”; (i) “Celebrity”; (j) “JAV & Asian”; (k) “Reddit / Twitter /
18

19    Tumblr”; and (l) “Other.”

20          112. In the category labeled “Thothub News,” there are several messages in
21
      which the Members impose rules and discuss technical issues related to Thothub.
22

23          113. For example, in one pinned message dated June 13, 2019 entitled

24    “Community Guidelines Update 2020. READ ME!” one of the Members, Teller,
25
      writes:
26

27          Hello everyone, with growth comes an official guidelines manual for all
            of you and the mods. We feel it is time to get a couple of willing people
28          on board to make sure this place doesn’t turn into a spam fiesta.

                                              34
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 1          Adherence to these guidelines shall be determined at the sole discretion
 2          of thothub.tv and the forum moderators. Keep in mind that your ability to
            use the forums is a privilege, not a right. …
 3
            There will never be thread removal discussions, we have the right to
 4
            remove any and all content on thothub.tv for any reason we deem
 5          necessary.
 6          114. This post goes on to describe Thothub’s “Warning Points” system
 7
      under which users are subject to sanctions for violating the Members’ rules. Among
 8

 9    those sanctions, users who receive “2 warning points” will be sanctioned with

10    “limited posting and access”; users who receive “3 warning points” will receive a
11
      “[t]emporary ban of 1 month”; users who receive “4 warning points” will be
12

13    sanctioned such that their “connection will be slowed down and dropped
14    occasionally”; and users who receive “5 warning points” will receive a “[p]ermanent
15
      ban.” This post makes clear that the Members have the ability to control access to,
16

17    and content that appears on, Thothub.
18          115. Another pinned message in the “Thothub News” discussion board
19
      entitled “Welcome to the thothub.tv forums! Rules and Features inside – read me!”
20

21    by Teller dated April 14, 2019, provides an explanation for some of the titles in the
22    Thothub organization and how those titles can be attained. This message explains
23
      that members can attain higher status by receiving “likes” from preexisting members
24

25    that have already attained certain ranks. In particular, the message states:
26
            [screenshot on next page]
27

28


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14          116. Notably, this post admits that “we have the right to remove anything to
15    following [sic] copyright/dmca rules.” The “we” appears to refer to the Members.
16
            117. Other posts in the “Thothub News” forum indicate that the Members
17

18    directly have access to Thothub’s background computer systems and servers. For
19    example, on May 28, 2020, Teller posted in a message entitled “Downtime today
20
      27/05” that the site would be down “[d]ue to hardware malfunction.” Similarly, on
21

22    August 4, 2019, Teller wrote a post entitled “Server Center offline UPDATE:
23
      BACK ONLINE” in which he states that the “main page is offline due to technical
24
      issues in our datacenters.” On June 19, 2019, Teller wrote a post entitled “Server
25

26    upgrades June 19th” in which he states that “[b]oth the main website and forums
27
      were down for 1 minute for much needed upgrades (extended storage and extra CPU
28


                                              36
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 1    cores to further increase speedy user experience).” On June 13, 2019, Teller wrote a
 2
      post entitled “One of our video server nodes is offline. (update: fixed)” in which he
 3

 4    states that “[p]eople might experience a couple of clips being offline as one of our

 5    video servers crashed today, we are working hard on getting it back online soon.”
 6
      There are several other messages in which Teller provides information about various
 7

 8    technical issues or improvements on the site.

 9          118. Similarly, in the forum category entitled “Tech Support,” the only post
10
      is a message from Teller entitled “Broken account / Lost password / Ban appeal /
11

12    Locked out / other issues – drop them here.” In the post thread, Teller responds to
13    users’ technical or permissions issues. For example, one user named “shaeisbae”
14
      asks whether there is “any chance to get my old account unbanned.” Teller responds
15

16    that the ban was “lifted,” indicating the ability to control user access on the site.
17          119. Thothub’s website includes a form for content owners to submit
18
      takedown requests directly to Thothub regarding infringing content on the site. The
19

20    moderators admit in forum posts that they have “the right to remove any and all
21    content on thothub.tv for any reason we deem necessary.” However, Thothub and
22
      the Members routinely ignore takedown requests.
23

24          120. For example, Waidhofer submitted at least three takedown requests
25
      related to her stolen photos, including one through Thothub’s online portal. Thothub
26
      did not respond to these requests, and Waidhofer’s photos have remained on
27

28    Thothub for months.

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 1            121. For another example, a user who goes by “throwawayonlyfan” posted
 2
      on Reddit earlier this year that she has “copyrighted” photos on OnlyFans that sell
 3

 4    “for a set price.” She continues: “These have in the past few months been leaked on

 5    a website called thothub.tv. The website is well known to ignore all copyright
 6
      infringement takedowns, emails, complaints. I sent several dmca requests beginning
 7

 8    in November [2019], all have been ignored. … I’ve reported the comments over and

 9    over, and emailed begging the website again to at least take my personal info down,
10
      but they’re still ignoring.”
11

12       G. Thothub Acquires Content by Extorting Other Users to Infringe
            Copyrights.
13
              122. Thothub knowingly acquires stolen content from the Licensed Sites by
14

15    expressly pressuring and extorting other users to provide stolen content from those
16
      sites in order to be granted access to additional content and features on the Thothub
17

18
      site.

19            123. The Members openly solicit other users to steal paid content from the
20
      Licensed Sites. Users can only become full-fledged members of Thothub, and
21

22
      therefore gain access to the full set of content and features on the site, if they make

23    “qualifying contributions” of content. Qualifying contributions are expressly defined
24
      as digital content behind the paywall on the Licensed Sites that is not publicly
25

26    available and not already in Thothub’s possession.

27

28


                                                38
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 1          124. In order to count as “qualifying contributions,” user submissions must
 2
      be validated by “likes” from the established members of Thothub, including the
 3

 4    Members.

 5          125. In a pinned post from May 11, 2020 entitled “WELCOME – READ
 6
      ME FIRST !! (I’ll Explain Everything)” that appears in the “The Pit – Where new
 7

 8    users are welcomed” sub-forum (the “Pit”), Captain Thotcakes explains how users

 9    can become members of Thothub:
10
            [screenshot on next page]
11

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22    [screenshot cont’d on next page]
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            126. As the message title indicates, this message is intended to “welcome”
13

14    new users and to be “read [ ] first,” and it “explain[s] everything” about the Thothub
15
      enterprise.
16

17
            127. The body of the message explains that “a new user (Lurker)” will “have

18    limited access to the forums and features of the website” until the new user “post[s]
19
      a contribution in here on this beginners board (Called the Pit) and get[s] some
20

21    LIKES from an experienced member,” at which point the user’s “rank will increase

22    and the forums and features will unlock.” The message also makes clear that
23
      “Lurkers and New Members can not [sic] give LIKES in The Pit, only members
24

25    ranked above Thot Master will be able to approve your contributions.”

26          128. The message also makes clear that Thothub and the Members are
27
      “looking exclusively for PAID material / LEAKED photos and vids / PREMIUM
28


                                               41
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 1    content.” The message clarifies that this is “[s]tuff that’s not easily available to the
 2
      public / or is locked behind a paywall / subscription.” As “[e]xamples” of such
 3

 4    content, it specifically mentions “Patreon” and “Onlyfans” first.

 5           129. The message also makes clear that content that is already in the public
 6
      domain or on Thothub will not constitute “qualifying contributions.” In particular, it
 7

 8    says that “[t]hings that will NOT qualify might be … [p]ublic social media material

 9    … [a]ny mainstream or public professional nude modeling sets … [and] [r]epeat
10
      material.” It also makes clear that non-commercial content, such as “[r]andom nudes
11

12    of a friend or girlfriend,” do not count as qualifying contributions.
13           130. The message explains that the new user must post a significant amount
14
      of infringing content in order to qualify for Thothub membership. It explains that the
15

16    user must “[p]ost up at least 8 to 10 pics – a FULL album, a SET, a gallery, or a
17    collection of photos from a model that you follow so that you can gain access to the
18
      rest of the site.”
19

20           131. The specific reference to “the name of the creator” and “a model that
21    you follow” reiterates that Thothub seeks paid content from creators on the Licensed
22
      Sites. Per the user agreements for the Licensed Sites, fans—i.e., those who “follow”
23

24    the creators—do not have any rights to make, reproduce or distribute copies of the
25
      creators’ works to third parties.
26
             132. The message also notes that “[e]verything in here will be moved to the
27

28    graveyard subforum” four days after it is posted and that, in the intervening time,

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 1    “high ranked members will pass by to evaluate your contribution and invite you in.”
 2
      Thus, the stolen content hat is posted in the forum is preserved by the Members in
 3

 4    the “graveyard subforum.” In order to access the graveyard subforum where the

 5    stolen content is archived, a user must be qualified as a Thothub member.
 6
            133. The Members also routinely solicit paid content of specific creators,
 7

 8    which they refer to as “bounties.” If aspiring members deliver the stolen content,

 9    they can become Thothub members.
10
            134. In the “Pit” sub-forum, there are five pinned tweets devoted to so-
11

12    called bounties by various Members. The posts include (1) “Trying to get out ? Take
13    a look here for Like” by ironman891; (2) “Want out of the Pit? Need a like? Here
14
      are some ladies I am looking for!” by ewoklove; (3) “So you need likes to get out of
15

16    the pit. Here are models that you can post full sets of here in this thread from
17    Patreon” by TonyStark420; (4) “The Pit Bounty Board – Lurkers check here to see
18
      what you should post to get out of the pit” by Vassar; and (5) “LIST of 60 Models
19

20    That Have Onlyfans Starting at $3” by Captain Thotcakes. Each of these posts
21    contains specific requests for stolen content.
22
            135. Each of these posts has a “tag” for the Licensed Sites. Specifically,
23

24    using the same numeration as above, the posts contain the following tags: (1)
25
      Patreon and Onlyfans; (2) Onlyfans; (3) Patreon; (4) Patreon and Onlyfans; and (5)
26
      Onlyfans.
27

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 1          136. Below is a screenshot of the “Pit” sub-forum as of July 10, 2020, which
 2
      shows how these posts appeared in the forum on that day:
 3

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            137.   Each of these posts makes clear, if it were not already clear enough,
15
      that Thothub and the Members seek stolen paid content from the Licensed Sites.
16

17          138. For example, in the post entitled “Trying to get out ? Take a look here
18
      for a Like,” the Member who goes by the name “ironman891” states: “If some of
19
      you have PAID content for that model’s them [sic] post them and will be able to
20

21    leave the Pit.” He notes that “when [you] create a new post here don’t forget to tag
22
      me @ironman891 or @Cityzen7.” The post then lists sixteen creators from the
23
      Licensed Sites, with links to their pages on the Licensed Sites.
24

25          139. The remainder of the thread carries on for sixteen pages, with users
26
      providing access to paid content from the Licensed Sites for the creators listed in the
27
      original post. Subsequent posts in the same thread, dated through the present day,
28


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 1    indicate that Ironman891 continually updates the post to add new creators from the
 2
      Licensed Sites whose paid content he seeks.
 3

 4          140. In the post entitled “Want out of the Pit? Need a like? Here are some

 5    ladies I am looking for!” the Member called “ewoklove” provides a list of creators
 6
      from the Licensed Sites whose content he seeks. Ewoklove writes: “If you are
 7

 8    looking to get out of the pit and have any of these, tag me and I’ll give you a like.”

 9    Ewoklove lists eight creators from the Licensed Sites. One user responds by posting
10
      “all the current content” on the “onlyfans account” for a creator listed in the original
11

12    post, with the message that “I hope this is enough to get me out of the pit.”
13    Ewoklove responds: “Oh wow! Yes it is! This is more than fantastic! Thank you.
14
      Please keep sharing material!”
15

16          141. When a different user offers pictures from a creator’s public Instagram,
17    Ewoklove responds: “man, I appreciate the effort. But it takes more than ripping
18
      free stuff off her Instagram. Do you have any of her premium content?” When yet
19

20    another user posts paid content from a creator, Ewoklove writes: “This is gold!
21    Thank you! And welcome, we are happy to have you as part of the community.
22
      Please continue to post!”
23

24          142. In the post entitled “So you need likes to get out of the pit. Here are
25
      models that you can post full sets of here in this thread from Patreon,” the Member
26
      who goes by the name TonyStark420 writes: “So you want out of the pit. Post full
27

28    sets of these Models linked below, and I will make sure you get likes. Models can

                                                45
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 1    and will be changed from time to time.” TonyStark420 then lists several creators
 2
      from Patreon. One user responds that he “really want[s] to get out of the pit if it’s
 3

 4    possible” and states that he is “planning to buy every Wanderlustluca set [referring

 5    to a Patreon creator] which I will share with the community once I’m part of it.”
 6
            143. In the post entitled “The Pit Bounty Board – Lurkers check here to see
 7

 8    what you should post to get out of the pit,” the Member who goes by the name

 9    “Vassar” writes: “Lurkers – check this main post for bounties. Create a new post
10
      and tag the user that posted the bounty when you share their content.” The message
11

12    then lists dozens of creators from the Licensed Sites under the heading “Bounties.”
13    The list also notes which Members seek each creator’s content. Included on the list
14
      are requests for content from Vassar, Nick712, TonyStark420, Captain Thotcakes,
15

16    Bigsausagestromboli, De_sercier, Cityzen7, and Ewoklove, among others.
17          144.   Finally, in the post entitled “LIST of 60 Models That Have Onlyfans
18
      Starting at $3,” the Member who goes by Captain Thotcakes makes clear that
19

20    committing illegal infringement is the only way to obtain full Thothub access. In
21    particular, Captain Thotcakes writes: “We keep getting the question from New
22
      Users: ‘Can I just pay for a membership / Donate to get off Lurker status??’
23

24    Unfortunately we don’t have an option for that at the moment – HOWEVER – I
25
      have hunted down over 60 girls that have super inexpensive content on Onlyfans.
26
      You can use the money instead, to sub to any of them, then post your content here!!
27

28


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 1    ((BOOM – YOU’RE OUT OF THE PIT JUST LIKE THAT!! )).” The post then
 2
      lists dozens of creators from the Licensed Sites.
 3

 4          145. By subscribing to one “super inexpensive” OnlyFans creators’ accounts

 5    and stealing the paid content from that creator, Thothub users can thus gain access
 6
      to an extensive library of other stolen content from the Licensed Sites that they
 7

 8    would otherwise have to pay for.

 9          146. The Members also encourage and assist Thothub users in evading
10
      copyright enforcement. In a pinned post on the forum entitled “How to: DMCA-
11

12    proof your picture and video uploads,” users are advised of several tools they can
13    use to upload stolen content and evade enforcement. The post concludes: “If you
14
      know of any other good filehosts that are lenient drop a comment.” This post was
15

16    “liked” by several Members. The thread also contains approving responses by swix.
17          147. In another post entitled “Removing Shit Hosts,” the Member who goes
18
      by “swix” writes: “If you want to make your uploads take-down proof read here[.]”
19

20    The “read here” language is a hyperlink that reverts back to the post “How to:
21    DMCA-proof your picture and video uploads.”
22
         H. Thothub and the Members Benefit from Infringing Creators’ Content.
23

24          148. Through exploitation of creators and their works, Thothub generates
25
      enormous web traffic and earns substantial revenue and profits for itself, the
26
      Members, and its business partners.
27

28


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 1          149. As of the afternoon of July 27, 2020, Thothub states on its site in a box
 2
      labeled “Forum statistics” that it has 1,098,477 “members,” having gained more
 3

 4    than 10,000 new members over the prior week alone. This figure constantly updates,

 5    apparently in real time as new members join.
 6
            150. According to web traffic analytics, as of July 2020, Thothub was the
 7

 8    1,197th most trafficked domain on the Internet, the 110th most popular domain in

 9    the “Adult” category, and the 655th most trafficked domain overall for U.S. users.
10
            151. Metrics such as overall traffic, clicks per visit, total clicks, and average
11

12    duration of visit are common factors used to assess the value of a website and the
13    cost to purchase advertising space on the website. In June 2020, according to
14
      SimilarWeb data, Thothub received approximately 24.67 million total visits with an
15

16    average of 8.58 clicks per visit, for a total of more than roughly 211,668,600 clicks
17    in that month alone. Approximately 33.38% of the June 2020 traffic on Thothub was
18
      from the United States. The average visit duration was approximately 12 minutes
19

20    and 35 seconds.
21          152. Similarly, in December 2019, the site generated nearly 24 million visits
22
      from over 5.5 million unique visitors. On average, each visit resulted in more than 8
23

24    clicks per visit, meaning that the Thothub site garnered roughly 200,000,000 clicks
25
      that month.
26

27

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 1          153. Thothub’s site traffic and popularity continues to grow. Trend lines for
 2
      metrics such as unique visitors, total visits, and clicks per month have all steadily
 3

 4    increased over time.

 5          154. Thothub has generated substantial revenue through its illegal use of
 6
      creators’ works and bodies. Thothub generates revenue, among other things, by
 7

 8    selling subscriptions and advertising space and through kickbacks from advertiser

 9    sales generated through clicks on Thothub.
10
            155. Subscriptions cost $0.99 per month for a “normal membership” and
11

12    $2.99 per month for a “supporter membership.” It is unclear how many of Thothub’s
13    members have purchased a subscription or what access a subscription enables on the
14
      site. If all of Thothub members pay for a subscription, then the site would generate
15

16    between $1 million and $3 million in monthly subscription fees.
17          156. In addition, Thothub sells advertising space on its site to companies
18
      like BangBros and Chaturbate. Publicly available metrics estimate that, based on the
19

20    traffic data from the site, advertising space on Thothub costs, at least, hundreds of
21    thousands of dollars per year to purchase.
22
         I. Cloudflare Conspires With and Supports Thothub’s Infringement
23
            Racket.
24
            157. Cloudflare is an online service provider that has entered into
25

26    agreements with Thothub and/or the Members to provide certain services that

27    optimize distribution of stolen works on Thothub, shield Thothub’s identity and
28


                                               49
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 1    server locations from being discovered by content owners and law enforcement
 2
      organizations, and protect Thothub from cyberattacks.
 3

 4           158. Cloudflare has been called “Artist Enemy #1” and a “key player in the

 5    piracy ecosystem.” 4 According to the 2018 Counterfeit and Piracy Watch List report
 6
      (the “E.U. Report”), 5 a report by the European Commission that highlights websites
 7

 8    and marketplaces that undermine intellectual property rights of European companies

 9    and creators: “Cloudflare is used by approximately 40% of the pirate websites in the
10
      world. It operates as a front host between the user and the website’s back host,
11

12    routing and filtering all content through its network of servers. Out of the top 500
13    infringing domains based on global Alexa rankings, 62% (311) are using
14
      Cloudflare’s services.”
15

16           159. The E.U. Report also notes that “Cloudflare provides anonymity to the
17    owners and operators of the websites that use its services, which is particularly
18
      useful for the operators of pirate websites. If the website uses Cloudflare, the IP
19

20    address of the back host is replaced by one of CloudFlare’s dedicated IP addresses
21    and is therefore no longer ascertainable and Cloudflare reportedly does not easily
22
      provide information on the IP address of the back host.”
23

24

25
      4
       See The Trichordist, “2019 Artist Enemy #1: Cloudflare.” (Jan. 1, 2019), available at
26    https://thetrichordist.com/2019/01/01/2019-artist-enemy-1-cloudflare/.
27    5
       The E.U. Report is available at:
28    http://trade.ec.europa.eu/doclib/docs/2018/december/tradoc_157564.pdf.


                                                     50
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 1          160. As Cloudflare explains to customers in its marketing materials:
 2
      “Cloudflare will mask your IP.” As a result, when copyright owners look for
 3

 4    information about Cloudflare customers on standard Whois lookup services, there is

 5    no information about the customer’s IP address. Instead, the only information that
 6
      appears in the Whois report relates to Cloudflare’s name servers and IP address.
 7

 8          161. The word has gotten out among pirates that Cloudflare will protect

 9    them and allow them to commit repeat-infringement. In 2019, approximately 44.7%
10
      of all copyright-infringing URLs reported to Google were run through and
11

12    optimized using Cloudflare’s servers. One of the illegal pirate sites that Cloudflare
13    supports is Thothub.
14
            162. Cloudflare’s core suite of services, as described on its website, are
15

16    “[u]ltra-fast static and dynamic content delivery,” “[i]ncreased agility and control
17    over how content is cached,” and “[b]uilt-in unmetered DDoS [distributed denial of
18
      service] protection.” Cloudflare’s marketing also states that storing content on
19

20    Cloudflare’s network reduces the need to source content from the origin.
21          163. Cloudflare provides services to both paying and non-paying customers.
22
      On information and belief, Thothub is one of Cloudflare’s paying customers.
23

24          164. Cloudflare offers different paid service plans. Its “Business” plan,
25
      which it advertises as “ideal for small businesses operating online,” starts at $200
26
      per month. Prices for these plans fluctuate month to month based on usage. Business
27

28    plan services include DDoS attack mitigation, global content delivery network,

                                               51
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 1    enhanced security with Web Application Firewall (WAF), lossless image
 2
      optimization, automatic mobile optimization, and cache analytics, among other
 3

 4    services.

 5          165. Meanwhile, Cloudflare’s “Enterprise” plans are “for mission-critical
 6
      applications that are core to your business,” and include “advanced security,
 7

 8    performance and reliability features.” Enterprise Plans include all of the Business

 9    plan services listed above, as well as prioritized IP ranges, round-the-clock phone
10
      support, named solutions engineer support, and role-based account access.
11

12          166. There is no set price for Enterprise plan services. Rather, customers
13    must “Ask for Quote” for an Enterprise plan. Cloudflare salespersons create bespoke
14
      cost structures for each Enterprise plan customer based on numerous factors, such as
15

16    the customer’s business type, profitability, litigation and liability risk, data volume,
17    and resource needs, among other considerations.
18
            167. Consultations for “Enterprise” plans typically take place over the
19

20    phone. In a post that appeared on the popular social media platform, Reddit, a user
21    who goes by the name “FTMayor” wrote: “I work on the Cloudflare sales team and
22
      can tell you that every org interested in an enterprise plan receives a custom quote –
23

24    hence the preference for a phone call. Even if it’s only 10-15min, being able to dive
25
      a little bit deeper into your current usage and goals helps immensely to tailor the
26
      plan to your organization’s needs.”
27

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 1             168. Thothub began using Cloudflare’s services in or around June 2019. Due
 2
      to its heavy user traffic and data-transfer volume and high-liability-risk operations,
 3

 4    Thothub considered and/or purchased an “Enterprise” plan. In connection with

 5    Thothub’s consideration of an Enterprise plan, Cloudflare’s representatives had a
 6
      phone call with Thothub’s leadership team to discuss Thothub’s operations and
 7

 8    goals and developed a bespoke proposal for Thothub based on the particular details

 9    of Thothub’s site, data usage, risks, and operations. During this process, Cloudflare
10
      acquired information that Thothub specializes in distributing pirated works from
11

12    Licensed Sites.
13             169. In order to perform its services for Thothub, Cloudflare’s computer
14
      systems and servers have copied, hosted, and otherwise distributed copies of
15

16    numerous copyrighted works belonging to Waidhofer, along with hundreds of other
17    creators from the Licensed Sites. As Cloudflare states on its website, it “serve[s]
18
      requests to and from [its customers’] servers.”
19

20             170. Publicly available records from Whois state that two Cloudflare
21    servers—DORTHY.NS.CLOUDFLARE.COM                                                  and
22
      RODNEY.NS.CLOUDFLARE.COM—are the “name servers” for the Thothub site.
23

24    The Whois Report also indicates that the IP Location for Thothub is “Cloudflare
25
      Inc.”;     that   the   autonomous    system      number    (ASN)     is   “AS13335
26
      CLOUDFLARENET”; and that the server type is “cloudflare.”
27

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 1          171. The Whois Report shows that the specific Thothub URLs where
 2
      Waidhofer’s works have been publicly displayed are likewise supported by
 3

 4    Cloudflare’s network and servers.

 5          172. Cloudflare either stores the copyrighted works on its own servers so
 6
      that it is geographically closer to the end-users, or if the works are not already stored
 7

 8    on its servers, Cloudflare retrieves the works from its customers’ (e.g., Thothub’s)

 9    host servers when an end-user visits the page that includes the works. When a copy
10
      of a requested image is proxied from the host server, the delivery path goes from the
11

12    host server through the Cloudflare server then to the end-user.
13          173. When an end-user requests a page that contains a copyrighted work
14
      from a Cloudflare customer such as Thothub, whether the copyrighted work is
15

16    already on Cloudflare’s servers or is obtained from the host server, Cloudflare
17    distributes a copy of the requested content to the end-user’s device, where it then
18
      resides in the device’s hard drive or RAM. This copy can then be translated by the
19

20    end-user’s device to display the requested image on the consumer’s browser.
21          174. Even if the host server crashed, in many cases, the end-user could still
22
      receive the infringing content directly from Cloudflare’s servers.
23

24          175. As Trey Guinn, Cloudflare’s head of solution engineering, admitted in
25
      recent testimony: “[W]e want to deliver essentially what the website publisher has
26
      published. We want to deliver that so it shows up the same way to the website
27

28


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 1    visitor. We just want to optimize the delivery.” Mr. Guinn also admitted that there
 2
      are “many ways in which [Cloudflare] may modify content of a site.”
 3

 4           176. By interposing itself between copyright holders and Thothub,

 5    Cloudflare inhibits enforcement. Indeed, this is one of the most valuable services
 6
      that Cloudflare performs for pirates like Thothub. As one advocacy group noted in a
 7

 8    memo to the U.S. Trade Representative’s office regarding online piracy: “More and

 9    more pirate sites employ reverse proxy services, most commonly Cloudflare, to
10
      obfuscate their IP address, creating obstacles to enforcement against such sites.”6
11

12           177. Cloudflare actively markets itself to pirate sites by touting that it does
13    not facilitate enforcement. Cloudflare boasts in its so-called “Transparency Report”
14
      that it is “not Cloudflare’s intent to make law enforcement’s job axny [sic] harder,
15

16    or easier.” It proclaims that Cloudflare has “never done” any of the following: (a)
17    “turned over our encryption or authentication keys or our customers’ encryption or
18
      authentication keys to anyone”; (b) “installed any law enforcement software or
19

20    equipment anywhere on our network”; (c) “provided any law enforcement
21    organization a feed of our customers’ content transiting our network”; (d) “modified
22
      customer content at the request of law enforcement or another third party”; (e)
23

24    “modified the intended destination of DNS responses at the request of law
25

26
      6
        See Recording Industry Association of America, Letter to Acting Ass’t U.S. Trade Rep. for
27    Innovation & Intellectual Property, at 4 (Oct. 2, 2017), available at:
28    https://docplayer.net/61248917-October-2-in-re-docket-no-ustr-dear-ms-kendall.html.


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 1    enforcement or another third party”; or (f) “weakened, compromised, or subverted
 2
      any of its encryption at the request of law enforcement or another third party.”
 3

 4          178. Cloudflare also will not voluntarily respond to “requests for

 5    information that might be used to identify a Cloudflare customer” and “requires
 6
      valid legal process such as a subpoena or a foreign government equivalent of a
 7

 8    subpoena before providing this type of information to either foreign or domestic law

 9    enforcement or civil litigants.” Cloudflare intentionally throws up roadblocks to
10
      enforcement in order to facilitate infringement by Thothub and other pirate sites.
11

12          179. When it receives takedown request from creators who discover
13    Cloudflare as the listed server for Thothub, Cloudflare just forwards the requests for
14
      removal of content to Thothub.
15

16          180. Cloudflare states that “[i]t is our policy to notify our customers of a
17    subpoena or other legal process requesting their customer or billing information
18
      before disclosure of information, whether that legal process comes from the
19

20    government or private parties involved in civil litigation, unless legally prohibited.”
21    By notifying the customer of complaints before providing the information,
22
      Cloudflare alerts the customers so that they can migrate stolen content and make
23

24    other arrangements to prepare for potentially forthcoming enforcement actions.
25
            181. Cloudflare has received numerous takedown requests related to
26
      Thothub. Per its usual business practices, when it receives a complaint related to
27

28


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 1    Thothub, Cloudflare simply notifies Thothub about the complaint and continues to
 2
      serve Thothub, ignoring the red flags of repeat infringement.
 3

 4          182. Before filing this lawsuit, Waidhofer (through her attorneys) notified

 5    Cloudflare in writing that Thothub is a pirate site, that Thothub and its members
 6
      have engaged in an ongoing pattern and practice of copyright infringement, that
 7

 8    Thothub actively solicits and induces infringement from the Licensed Sites, that

 9    Thothub and its members routinely post “bounties” seeking “paid” content, that
10
      Thothub has infringed copyrights belonging to Waidhofer specifically, that
11

12    Cloudflare’s servers have produced and distributed illegal copies of many creators’
13    (including Waidhofer’s) works, and that Thothub’s infringement is ongoing. To
14
      date, Cloudflare has not responded.
15

16          183. Cloudflare has received many DMCA notices from creators on the
17    Licensed Sites related to Thothub’s infringement of their copyrighted works. As
18
      with the roughly 15,000 takedown requests for Thothub URLs submitted to Google
19

20    in the last several months according to the Google Transparency Report, the vast
21    majority of the takedown requests to Cloudflare came from individual creators on
22
      the Licensed Sites or groups affiliated with the Licensed Sites.
23

24          184. For example, one user who uses the handle “throwawayonlyfan” wrote
25
      earlier this year on a Reddit page that she “went the Onlyfans route of selling more
26
      exclusive nudes and videos for a set price” and that “in the past few months [her
27

28    content] leaked on a website called thothub.tv,” which she stated is “well known to

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 1    ignore all copyright infringement takedowns, emails, [and] complaints.” Although
 2
      she “sent several dmca requests beginning in November [2019], all ha[d] been
 3

 4    ignored.” The user said that she sent a notice to Cloudflare about Thothub’s

 5    infringement, “but [C]loudflare passed my details and complaints onto the true host
 6
      of the site.” It did nothing more.
 7

 8          185. Despite knowing about Thothub’s repeat infringement, Cloudflare has

 9    not taken reasonable action to address Thothub’s repeat infringement and continues
10
      to provide material support that facilitates and enables Thothub’s criminal
11

12    enterprise.
13          186. Cloudflare admits on its website that it has the ability, “[i]n appropriate
14
      circumstances [to] disable access to Cloudflare services or terminate the accounts of
15

16    users determined to be repeat infringers.” But Cloudflare has not implemented a
17    reasonable repeat-infringer policy. Cloudflare does not have reasonably adequate
18
      protocols, policies, or metrics for addressing repeat infringement by customers, and
19

20    it does not take reasonable action after being notified about repeat infringement.
21    Cloudflare apparently has no established policy to follow up on infringement
22
      notifications to determine whether the infringing content was, in fact, removed from
23

24    the customer site.
25
            187. Although Cloudflare has said that “lawyers highly experienced in
26
      copyright law” should assess infringing activity, at least as of January 2018, it did
27

28


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 1    not employ any attorneys in its Trust & Safety department, which is responsible for
 2
      receiving infringement complaints.
 3

 4          188. Despite serving many of the world’s leading pirate sites, Cloudflare has

 5    never voluntarily terminated services to a customer for repeat copyright
 6
      infringement.
 7

 8          189. Cloudflare has, however, voluntarily terminated services for other

 9    customer sites, including the American Neo-Nazi group Daily Stormer and the
10
      conspiracy website 8chan. Cloudflare’s CEO Mr. Prince decided to terminate Daily
11

12    Stormer because he was “in a bad mood,” believed “the people behind the Daily
13    Stormer are assholes,” and “decided to kick them off the Internet,” according to Mr.
14
      Guinn’s testimony and other documents filed in a recent litigation involving
15

16    Cloudflare. Despite having the ability to kick customers who do bad things “off the
17    Internet” at its CEO’s whim, Cloudflare continues to provide material support to
18
      Thothub and other known pirate sites.
19

20       J. Advertiser Defendants          Conspire   With    Thothub     and    Support
            Infringement.
21

22
            190. The Advertiser Defendants are adult content creators and/or distributors

23    that have entered into agreements with Thothub to provide financial support to
24
      Thothub in exchange for premium advertisements and content-sharing on Thothub.
25

26    In exchange for their financial support, the Advertiser Defendants also receive a

27

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 1    form of immunity or protection from Thothub against having their own digital
 2
      content stolen and illegally distributed by Thothub and its associates.
 3

 4          191. The Advertiser Defendants each pay Thothub to advertise their own

 5    adult content on the Thothub site. The revenue derived from the Advertiser
 6
      Defendants is used to pay for services that allow Thothub to distribute infringing
 7

 8    material, including content delivery and hosting services.

 9          192. Based on publicly available web traffic data, Thothub receives an
10
      estimated over 2 billion page views annually, which translates into millions of
11

12    dollars in annual advertising value. As explained below, Thothub depends on this
13    advertising revenue to support and enable its infringing activities.
14
            193. The Advertiser Defendants’ advertisements appear on all or virtually all
15

16    content pages on the Thothub site. For example, below is a screenshot of one of the
17    Thothub pages that depicts Waidhofer’s stolen content, as the page appeared on July
18
      13, 2020 (partial nudity redacted):
19

20          [screenshot on next page]
21

22

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14          194. In the screenshot above, links for each of the Advertiser Defendants
15
      can be seen on the right side of the screen. The link on the top right (which shows a
16
      woman standing in front of what appears to be a chair against a blue-gray
17

18    background) is a Chaturbate live video feed, and the link on the bottom right (which
19
      shows a woman standing in front of what appears to be a door with the notation
20
      “BangBros” in the bottom left corner of the image) is a BangBros advertisement.
21

22          195. As with other advertisements by the Advertiser Defendants on the site,
23
      these links do not appear as static images on Thothub. The Chaturbate link is a
24

25
      direct feed into a live webcam session on Chaturbate. The link shows live video of a

26    female performer on Chaturbate. Clicking on the link (i.e., on the image) takes the
27
      user directly into a live webcam session with the depicted performer. The link does
28


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 1    not indicate that it is for Chaturbate; rather, it appears to be affiliated Thothub
 2
      content.
 3

 4             196. Unlike typical static banner or website advertisements, Chaturbate

 5    provides Thothub with real-time access to its live streaming content. When clicked,
 6
      the video link takes Thothub users directly into the advertised Chaturbate chatroom
 7

 8    where viewers can pay for “tokens” to the models in order to make requests. Based

 9    on the level of access Chaturbate provides to Thothub—i.e., real-time, continuous
10
      access to Chaturbate’s live streaming platform—it is apparent that Chaturbate and
11

12    Thothub have entered into a mutually beneficial agreement whereby Chaturbate
13    provides financial support and access to its live content in return for Thothub
14
      driving users to its platform.
15

16             197. Each time the page is refreshed, a different Chaturbate live webcam
17    feed shows up on the page, each time linking to a different Chaturbate live webcam
18
      session (occasionally repeating feeds that have previously been displayed). The
19

20    connection between Chaturbate and Thothub’s content networks is dynamic,
21    continuous, and updated in real time.
22
               198. Chaturbate thus controls at least some content that appears on Thothub
23

24    at all times, and Chaturbate and Thothub’s networks are continuously linked at all
25
      times.
26
               199. Meanwhile, the BangBros advertisement contains graphic images of
27

28    short clips (each about one second long) from scenes from BangBros adult content

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 1    that cycles repeatedly. Clicking on the link takes the user directly to
 2
      tour.bangbros.com, where they are invited to subscribe to BangBros network of
 3

 4    online pornography websites.

 5          200. In addition to the Chaturbate webcam links that appear on every feature
 6
      page depicting stolen content from the Licensed Sites, Chaturbate live feeds also
 7

 8    appear on the Thothub homepage.

 9          201. The links appear alongside other Thothub posts in the same three-
10
      column format as the stolen content. Clicking on the homepage Chaturbate links
11

12    takes the user directly into the live webcam session shown. As with the other pages,
13    the live webcam feed changes each time the page is refreshed. As with the others,
14
      the Chaturbate link does not indicate on its face that it relates to content from a
15

16    different company; instead, it appears to be Thothub-affiliated content.
17          202. Based on metrics such as number of total monthly visitors, number of
18
      unique monthly visitors, average clicks per visit, and average duration of visit, this
19

20    marketing space on the Thothub site is worth at least tens of thousands of dollars per
21    month and likely more.
22
            203. For example, the Website Ad Revenue Estimator tool from Oko Ad
23

24    Management, which specializes in online advertising, estimates that a website that
25
      receives 20,000,000 visits (sessions) per month with an average of 8.6 page views
26
      per session—based on average assumptions regarding the geographic mix of the
27

28    audience, the value of the niche, and the ad placement—would yield over $4 million

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 1    in annual advertising revenue. If one assumes that the geographic value of the
 2
      audience is “high” because the majority of the traffic derives from the United States,
 3

 4    Northern Europe, Canada, or Western Europe, as with Thothub, the estimated

 5    annual advertising revenue jumps to over $7.5 million, according to the Ad Revenue
 6
      Estimator tool.
 7

 8          204. As noted above, Thothub receives far more than 20,000,000 visits per

 9    month (for example, it received about 24,000,000 visitors in June 2020) with an
10
      average of 8.6 page views per visit. Thus, Thothub’s advertising value figures to be
11

12    even greater than the calculations above.
13          205. The advertising revenue provided by the Advertiser Defendants is
14
      critical to helping Thothub provide infringing content to a high volume of users.
15

16    Thothub and the Members use the revenue from the Advertiser Defendants to pay
17    for content hosting and content delivery services that involve replicating,
18
      distributing and displaying the infringing content.
19

20          206. In a forum post entitled “ad transparency (poll)” by the member Teller
21    (who handles technical issues for Thothub) dated June 19, 2019, Teller writes:
22
            [screenshot on next page]
23

24

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16          207. In this post, Teller explains the need for Thothub to consider additional
17
      advertising because “[w]e are nearing a whopping 9Terabytes of data usage a day
18

19    and we are just exploring different avenues.” He notes that “[j]ust today we put in

20    the request for another round of server upgrades (double the forum power and
21
      double the main website power).” He explains that “[w]e try to never get ads in the
22

23    way of your viewing pleasure, [sic] that is why you will never find anything in

24    between content.” Consistent with Teller’s description, the Advertiser Defendants’
25
      ads and live feeds described above do not obscure or detract from any of the other
26

27    content on the site.

28


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 1             208. Teller apologizes for the fact that additional advertising revenue is
 2
      required to support Thothub’s infringement, but suggests that Thothub has no other
 3

 4    option to operate: “I know ads are a love and I’m sorry but I don’t know any other

 5    way.”
 6
               209. As Teller’s post suggests, it costs a lot of money to host and distribute
 7

 8    the volume of data and infringing content that Teller indicates Thothub was hosting

 9    and distributing even as far back as June 2019. According to one cloud-storage
10
      pricing comparison by the company Backblaze, data storage costs in 2020 from
11

12    leading service providers (including Backblaze, Amazon Web Services, Microsoft
13    Azure, and Google Cloud) range from $0.005 to $0.020 per gigabyte per month, and
14
      download costs range from $0.01 to $0.08 per gigabyte per month.7
15

16             210. Based on Teller’s statement in June 2019 that Thothub was “nearing a
17    whopping 9Terabytes of data usage a day,” Thothub was transmitting roughly 270
18
      terabtyes of data each month and storing at least 9 terabytes each month. Using
19

20    these figures, Thothub’s storage costs ranged from $45 to $180 per month, and its
21    data transmission costs ranged from $2,700 to $21,600 per month.
22
               211. Other sources corroborate the high costs of storing and transmitting this
23

24    much data. As of early 2018, for example, Amazon Web Services (one of the largest
25
      hosting firms in the world) offered 1 terabyte of storage and 100 gigabytes of data
26
      7
          See BackBlaze, Cloud Storage Pricing Comparison (last visited July 15, 2020), available at:
27

28    https://www.backblaze.com/b2/cloud-storage-pricing.html.


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 1    transfer (100 GB is equal to 0.1 TB) for approximately $39.63 per month each. If
 2
      Thothub hosted and transferred 9 terabytes per day at these prices, the cost would
 3

 4    run approximately $400 per month for storage and over $3,500 per month for data

 5    transfers. This equates to nearly $50,000 in annual costs for these services alone.
 6
            212. Since June 2019, the web traffic and content base on Thothub has
 7

 8    grown exponentially. According to web traffic analytics, site traffic has at least

 9    doubled between June 2019 and the present day, and the site hosts orders of
10
      magnitude more content than it did in June 2019. The site also picks up thousands of
11

12    new members each week. As a result of this growth, today Thothub’s monthly costs
13    likely approach or exceed $100,000 for content hosting and delivery, and Thothub
14
      likely has annual hosting and delivery costs of $1 million or more.
15

16          213. Thothub is only able to bear these costs due to the revenue it derives
17    from advertising. Put differently, absent the financial backing of the Advertiser
18
      Defendants, Thothub could not continue to commit acts of infringement with
19

20    anywhere close to the frequency and scale that it now does. The Advertiser
21    Defendants thus materially contribute to the infringement.
22
            214. The Advertiser Defendants know, or are willfully blind to the fact, that
23

24    Thothub is a pirate site that features content stolen from the Licensed Sites. Each of
25
      the Advertiser Defendants is a major player in the adult entertainment industry. As
26
      explained above, it is widely known in the industry that Thothub specializes in
27

28    providing stolen content, particularly from the Licensed Sites.

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 1          215. As noted above, the prominent review site The Porn Dude describes
 2
      Thothub as “the perfect place for all of you who like to enjoy thots showing you all
 3

 4    of their goods but don’t like paying for it.” The Porn Dude adds that the site offers

 5    “[f]ree content that you’d otherwise have to pay for.”
 6
            216. Other reviewers well-known within the Advertiser Defendants’
 7

 8    industry echo these sentiments. For example, Prime Porn List explains that Thothub

 9    is an “amateur/homemade type of site that focuses on conduct” from women on
10
      “Patreon, Snapchat, OnlyFans, Twitch, Instagram, and so on.” The review adds that
11

12    “[h]ere [i.e., on Thothub] you can see their videos and photos for free and all in one
13    place.” The review also notes that the site has “grown exponentially” and is an
14
      “excellent option” for viewing “leaks and premium content from” OnlyFans and
15

16    Patreon.
17          217. As explained above, the moderators and administrators on Thothub also
18
      openly and notoriously proclaim that the site is devoted to publishing stolen content
19

20    from the Licensed Sites.
21          218. The Advertiser Defendants select Thothub for advertisements because
22
      they know the type of content on the site and that the site generates a high volume of
23

24    traffic. Further, they know that Thothub displays stolen content from the Licensed
25
      Sites and the kinds of consumers that seek such content. The Advertiser Defendants
26
      target the same niche of consumers with a similar product.
27

28


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 1             219. Chaturbate markets to a sub-niche that is also a particular target for
 2
      creators on the Licensed Sites: those who seek paid, “amateur”-themed, adult
 3

 4    content.

 5             220. Advertising on Thothub has generated sales for the Advertiser
 6
      Defendants. Some of the many thousands of users that have clicked over directly
 7

 8    from Thothub to one of the Advertiser Defendants’ sites purchased on their first

 9    visit to the Advertiser Defendants’ sites.
10
               221. Purchasing advertising space on Thothub also serves a second purpose:
11

12    it undermines some of the Advertiser Defendants’ greatest competition in the market
13    for online adult content.
14
               222. Over the last year, creators on the Licensed Sites have emerged as a
15

16    major competitor for the Advertiser Defendants. Creators on the Licensed Sites now
17    enjoy a sizeable, and ever-increasing, market share for online adult-oriented content.
18
               223. The Advertiser Defendants knowingly support Thothub not only to
19

20    drive their own sales, but also as a means of devaluing one of their primary sources
21    of competition by helping to leak creators’ competing paid content from Licensed
22
      Sites.
23

24             224. Curiously, the Advertiser Defendants’ own stolen content is not
25
      featured on Thothub, even though the content fits the description of content that
26
      Thothub is looking for. The Advertiser Defendants would not purchase advertising
27

28    on a site that steals their own content and exercise a degree of control over Thothub

                                                   69
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 1    by requiring that their own paid content not appear on Thothub. In exchange for the
 2
      Advertiser Defendants’ material support of Thothub’s infringement, Thothub does
 3

 4    not allow the Advertiser Defendants own stolen content to appear on Thothub.

 5                              V.       RELEVANT STATUTES
 6
                a. Copyright Act
 7

 8          225.   The Copyright Act provides exclusive property rights to any person

 9    that creates “original works of authorship fixed in a tangible medium of expression.”
10
      17 U.S.C. § 102(a). Works of authorship include, among other things, “pictorial,
11

12    graphic, and sculptural works” and “motion pictures and other audiovisual works.”
13    Id. §§ 102(a)(5), –(6). Copyright protection also extends to “compilations and
14
      derivative works.” Id. § 103(a).
15

16          226.   The copyright owner has the exclusive right to do or authorize the
17    following: (a) to reproduce the copyrighted work in copies or phonorecords; (b) to
18
      prepare derivative works based upon the copyrighted work; (c) to distribute copies
19

20    or phonorecords of the copyrighted work to the public by sale or other transfer of
21    ownership, or by rental, lease, or lending; (d) for certain works including
22
      audiovisual works, to perform the copyrighted work publicly; (e) for certain works
23

24    including pictorial and audiovisual works, to display the copyrighted work publicly;
25
      and (f) for sound recordings, to perform the copyrighted work publicly by means of
26
      a digital audio transmission. Id. § 106.
27

28


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 1          227.   In addition, the author of a work of visual art has the right “to prevent
 2
      any intentional distortion, mutilation or other modification of that work which
 3

 4    would be prejudicial to his or her honor or reputation, and any intentional distortion,

 5    mutilation or modification of that work is a violation of that right.” Id. § 106A(a)(3).
 6
            228.   The Act also has a criminal section. “Any person who willfully
 7

 8    infringes a copyright shall be punished as provided under section 2319 of title 18, if

 9    the infringement was committed—(A) for purposes of commercial advantage or
10
      private financial gain; (B) by the reproduction or distribution, including by
11

12    electronic means, during any 180-day period, of one or more copies of phonorecords
13    of one or more copyrighted works, which have a total retail value of more than
14
      $1,000; or (C) by the distribution of a work being prepared for commercial
15

16    distribution, by making it available on a computer network accessible to members of
17    the public, if such person knew or should have known that the work was intended
18
      for commercial distribution.” Id. § 506(a).
19

20              b. Racketeering Influenced and Corrupt Organizations Act (RICO)
21          229.   RICO is a broad federal statute that provides for criminal sanctions and
22
      private causes of action related to organized criminal acts by an enterprise that
23

24    engages in, or whose activities affect, interstate or foreign commerce. See 18 U.S.C.
25
      § 1961 et seq.
26
            230.   Among other things, RICO makes it unlawful for any person to (a) use
27

28    or invest any income (or proceeds of income) derived, directly or indirectly, from a

                                                71
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 1    pattern of racketeering activity in any enterprise engaged in interstate or foreign
 2
      commerce; (b) acquire or maintain, directly or indirectly, through a pattern of
 3

 4    racketeering activity, any interest in or control of an enterprise engaged in interstate

 5    or foreign commerce; (c) conduct or participate, directly or indirectly, through a
 6
      pattern of racketeering activity, in the conduct of an enterprise engaged in interstate
 7

 8    or foreign commerce; or (d) conspire to violate any of the above.

 9          231.   The term “racketeering activity” is defined to mean any of a wide
10
      variety of criminal acts under federal and state law. Each instance of such crimes is
11

12    known as a RICO predicate act. Pursuant to the Anticounterfeiting Consumer
13    Protection Act of 1996, RICO was amended to include criminal copyright
14
      infringement as a predicate act.
15

16          232.   RICO defines a “pattern of racketeering activity” to “require[] at least
17    two acts of racketeering activity, one of which occurred after the effective date of
18
      this chapter and the last of which occurred within ten years (excluding any period of
19

20    imprisonment) after the commission of a prior act of racketeering activity.”
21          233.   RICO defines an “enterprise” to include “any individual, partnership,
22
      corporation, association, or other legal entity, and any union or group of individuals
23

24    associated in fact although not a legal entity.”
25
            234.   RICO establishes a private right of action in favor of “[a]ny person
26
      injured in his business or property by reason of a violation of [RICO].” Such person
27

28    “may sue therefor in any appropriate United States district court and shall recover

                                                 72
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 1    threefold the damages he sustains and the cost of the suit, including a reasonable
 2
      attorney’s fee.”
 3

 4              c. Digital Millennium Copyright Act (DMCA)

 5          235.   The Digital Millennium Copyright Act of 1998 (DMCA) creates safe
 6
      harbors to copyright infringement for online service providers (“OSPs”) that are “a
 7

 8    provider of online services or network access, or the operator of facilities therefor.”

 9    17 U.S.C. § 512(k)(1)(B); id. §§ 512(b)–(d).
10
            236.   Among other things, for safe harbor, the DMCA requires OSPs to
11

12    adopt a “repeat infringer policy.” Id. § 512(i)(1)(A). In addition, the OSP must
13    establish a notice-and-take-down process. Id. § 512(c)(1)(C). The DMCA requires
14
      the OSP to reasonably implement its repeat infringer and notice-and-take-down
15

16    policies in order to qualify for a DMCA safe harbor.
17          237.   In order to benefit from any limitation of liability (safe harbor)
18
      established under the DMCA, the OSP must “adopt[] and reasonably implement[],
19

20    and inform[] subscribers and account holders of, … [its] policy that provides for the
21    termination in appropriate circumstances of subscribers and account holders … who
22
      are repeat infringers.” Id. § 512(i)(1)(A).
23

24          238.   One of the specific DMCA safe harbors (the “Storage Safe Harbor”)
25
      applies to OSPs that are accused of copyright infringement “by reason of the storage
26
      at the direction of a user of material that resides on a system or network controlled
27

28    or operated by or for the service provider.” Id. § 512(c).

                                                    73
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 1          239.   In order to qualify for the Storage Safe Harbor, the OSP must (a) adopt,
 2
      inform users about, and implement a repeat-infringer policy; (b) lack actual
 3

 4    knowledge of infringement and/or awareness of facts and circumstances making

 5    infringement apparent (so-called “red flags”); (c) act expeditiously to remove
 6
      infringing material once it acquires such actual knowledge or awareness; (d) not
 7

 8    receive a direct financial benefit form infringement, if the OSP has the ability to

 9    control the infringement; (e) designate an agent for receipt of copyright claims both
10
      on the OSP’s website and with the U.S. Copyright Office; (f) comply with the
11

12    DMCA’s notice-and-take down requirements, including by expeditiously removing
13    infringing matter or blocking access upon proper notice by the copyright holder; and
14
      (g) accommodate and not interfere with so-called “standard technical measures” to
15

16    protect copyrighted material.
17          240.   Another specific DMCA safe harbor (the “Caching Safe Harbor”)
18
      applies to OSPs that are accused of copyright infringement “by reason of the
19

20    intermediate and temporary storage of material on a system or network controlled or
21    operated by or for the service provider.” Id. § 512(b)(1).
22
            241.   To qualify for the Caching Safe Harbor, the OSP must show that (a) a
23

24    third-party website made the allegedly infringing material available online; (b) the
25
      third-party website transmits material through the OSP’s system or network at the
26
      direction of another third party (i.e., an end user); (c) the material is stored through
27

28    automated processes for purposes of making it available to other users who request

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 1    access to the material; (d) the material is transmitted to these other users without
 2
      modification; (e) the OSP does not allow access to the material without any
 3

 4    passwords or fees required by the third-party website; (f) the OSP expeditiously acts

 5    to take down or block access to allegedly infringing cached material when it
 6
      receives take-down notice, if the material has been taken down from the original
 7

 8    third-party site and the complainant so states in its notice to the OSP; and (g) adopt

 9    and implement a reasonable repeat-infringer policy.
10
            242.   As referenced above, the DMCA provides for a notice-and-take-down
11

12    process. Upon receipt of a compliant notice of infringement, the OSP must
13    “expeditiously” remove or block access to the allegedly infringing material. Id. §
14
      512(c)(1)(C).
15

16          243.   The DMCA also authorizes a copyright owner or person authorized to
17    act on the owner’s behalf to request any U.S. District Court to issue a subpoena to
18
      an OSP for identification of an alleged infringer, provided certain requirements are
19

20    met. Id. § 512(h). If the requirements are met, the subpoena “shall authorize and
21    order the service provider receiving the notification and the subpoena to
22
      expeditiously disclosure to the copyright owner or person authorized by the
23

24    copyright owner information sufficient to identify the alleged infringer of the
25
      material described in the notification to the extent such information is available to
26
      the service provider.” Id.
27

28


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 1          244.   The DMCA also sets out particular provisions regarding injunctive
 2
      relief available against OSPs. The court may issue an injunction regardless whether
 3

 4    the OSP qualifies for a safe harbor, although the nature of the relief that may be

 5    ordered varies depending on whether a safe harbor applies. Id. § 512(j)(1)(A)–(B).
 6
            245. In deciding on an injunction, the court “shall consider (A) whether such
 7

 8    an injunction, either alone or in combination with other such injunctions issued

 9    against the same service provider under this subsection, would significantly burden
10
      either the provider or the operation of the provider’s system or network; (B) the
11

12    magnitude of the harm likely to be suffered by the copyright owner in the digital
13    network environment if steps are not taken to prevent or restrain the infringement;
14
      (C) whether implementation of such an injunction would be technically feasible and
15

16    effective, and would not interfere with access to noninfringing material at other
17    online locations; and (D) whether other less burdensome and comparably effective
18
      means of preventing or restraining access to the infringing material are available.”
19

20    Id. § 512(j)(2).
21                                VI.   CAUSES OF ACTION
22
                Count One: Conduct of RICO Enterprise (18 U.S.C. § 1962(c))
23
                                 (against all Defendants)
24
            246. All of the preceding allegations are incorporated as if fully set forth
25

26    herein.

27

28


                                              76
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 1          247. Thothub, by and through its Members and other participants,
 2
      constitutes an association-in-fact enterprise because, among other reasons, (a) those
 3

 4    involved in Thothub have the common purpose to unlawfully steal, use, distribute,

 5    and profit from digital content from the Licensed Sites; (b) Thothub has a detailed
 6
      structure or organization, including a command hierarchy, different ranks for its
 7

 8    members, and a governing set of rules determined by the Members; (c) the Members

 9    participate in the operation or management of the enterprise by imposing and
10
      enforcing rules on other members of the enterprise; (d) Thothub has enjoyed
11

12    sufficient longevity to accomplish its purpose and has continuously been in
13    operation for more than a year; and (e) the enterprise functions as a continuing unit
14
      with membership, rank, privileges, and access constantly being maintained by the
15

16    Members.
17          248. Thothub is an enterprise engaged in interstate commerce because it
18
      traffics in commercial content that is subject to U.S. Copyright law and available in
19

20    multiple states. Cloudflare is an enterprise engaged in interstate commerce because
21    it conducts business and maintains facilities in multiple states. The Advertiser
22
      Defendants are enterprises engaged in interstate commerce because they conduct
23

24    business and produce content that is available to customers in multiple states.
25
            249. Defendants have engaged in intentional and willful conduct in service
26
      of the criminal enterprise, including but not limited to, (a) committing acts of
27

28    copyright infringement; (b) inducing others to commit acts of copyright

                                                77
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 1    infringement; (c) extorting others to commit acts of copyright infringement; (d)
 2
      selling access to stolen content; (e) inhibiting enforcement actions and inducing
 3

 4    others to do the same; (f) purchasing instrumentalities and services for the specific

 5    purpose of committing unlawful acts; and (g) imposing rules and organizational
 6
      structure on the enterprise.
 7

 8          250. Defendants have committed numerous acts of racketeering, including

 9    thousands of acts of criminal copyright infringement and extortion.
10
            251. The Thothub enterprise has committed numerous acts of criminal
11

12    copyright infringement because (a) Plaintiff and many other creators own valid
13    copyrights in their works, including works on the Licensed Sites; (b) Defendants
14
      have repeatedly infringed those copyrights by making unauthorized copies of the
15

16    works, distributing copies of the works, displaying copies of the works, modifying
17    the works, and/or creating derivative works, and inducing others to the same; (c)
18
      Defendants have committed these acts of infringement willfully and with knowledge
19

20    that the infringement is unlawful; and (d) Defendants committed these acts of direct
21    and induced infringement for the purpose of commercial advantage or private
22
      financial gain.
23

24          252. Thothub and the Members have committed thousands of acts of
25
      extortion by using their position as managers of Thothub to threaten or induce others
26
      to steal copyrighted works of value from the Licensed Sites, and to provide those
27

28


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 1    works of value to Thothub and the Members, in exchange for being removed from
 2
      the “Pit” and granted access to Thothub’s full library of stolen works.
 3

 4          253. These criminal acts reflect a pattern of racketeering because (a) there

 5    are at least two predicate acts and indeed many more than two; (b) the predicate acts
 6
      are closely related to one another in that all were committed in service of achieving
 7

 8    the criminal purpose of the enterprise to unlawfully use, steal, distribute, and profit

 9    from digital content stolen from the Licensed Sites; and (c) the acts are continuous
10
      because they have occurred within the span of the last two years and have been
11

12    accomplished through similar means for a similar purpose.
13          254. The acts of racketeering have caused harm to Waidhofer by, among
14
      other things, damaging her reputation, devaluing her commercial content, and
15

16    diverting customers who would otherwise purchase access to her accounts on the
17    Licensed Sites.
18
            255. Defendants have each participated in the commission of these acts.
19

20                   Count Two: RICO Conspiracy (18 U.S.C. § 1962(d))
                                 (against all Defendants)
21

22
            256. All of the preceding allegations are incorporated as if fully set forth

23    herein, including those allegations set forth above regarding the criminal enterprise,
24
      acts of racketeering, pattern of racketeering activity, and harm caused to Waidhofer
25

26    by reason of the acts of racketeering.

27

28


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 1          257. Thothub, the Members, Cloudflare, and the Advertiser Defendants
 2
      adopted the goal of furthering or facilitating Thothub’s criminal endeavor to
 3

 4    unlawfully use, steal, distribute, and profit from digital content stolen from the

 5    Licensed Sites.
 6
            258. Each of these Defendants was aware of the essential nature and scope
 7

 8    of the enterprise and intended to participate in it.

 9          259. Each of these Defendants agreed to commit or participate in a violation
10
      of at least two predicate offenses, including thousands of acts of criminal copyright
11

12    infringement.
13      Count Three: Receiving Income from RICO Enterprise (18 U.S.C. § 1962(a))
14                               (against all Defendants)
15          260. All of the preceding allegations are incorporated as if fully set forth
16
      herein, including those allegations set forth above regarding the criminal enterprise,
17

18
      acts of racketeering, pattern of racketeering activity, and harm caused to Waidhofer

19    by reason of the acts of racketeering.
20
            261. Thothub, the Members, Cloudflare, and the Advertiser Defendants
21

22
      received income derived from the pattern of racketeering activity described herein

23    and used the income to acquire or invest in an enterprise in interstate commerce.
24
            262. Each of the Defendants obtained such income with knowledge, or
25

26    willful blindness, that the income derived from Thothub’s racketeering activity.

27

28


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 1              Count Four: Controlling RICO Enterprise (18 U.S.C. § 1962(b))
 2                                  (against the Members)

 3          263. All of the preceding allegations are incorporated as if fully set forth
 4
      herein, including those allegations set forth above regarding the criminal enterprise,
 5
      acts of racketeering, pattern of racketeering activity, and harm caused to Waidhofer
 6

 7    by reason of the acts of racketeering.
 8
            264. The Members have maintained control over the enterprise by, among
 9
      other things, operating the Thothub website, imposing rules and discipline on the
10

11    members, and enacting an organizational structure under which they have certain
12
      managerial powers over the enterprise.
13
                         Count Five: Direct Copyright Infringement
14
                        (against Thothub, the Members, and Cloudflare)
15
            265. All of the preceding allegations are incorporated as if fully set forth
16

17    herein.
18          266. Waidhofer owns valid copyrights in certain photographic and
19
      audiovisual works that have appeared on Thothub (the “Works”).
20

21          267. With respect to the Works, Thothub and the Members infringed by
22    reproducing copies of the Works, preparing derivative works based upon the Works,
23
      distributing copies of the Works to the public by sale or other transfer of ownership,
24

25    and displaying the Works on Thothub. The elements copied include constituent parts
26
      of the Works that are original.
27

28


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 1          268. With respect to the Works, Cloudflare infringed by reproducing and
 2
      storing copies of the Works on its servers and distributing copies of the Works to the
 3

 4    public through its content delivery network. The elements copied include constituent

 5    parts of the Works that are original.
 6
            269. The infringement by Thothub, the Members, and Cloudflare is ongoing.
 7

 8          270. As a result of these acts of infringement, Waidhofer has suffered actual

 9    damages and the Defendants have wrongfully profited. Waidhofer may also elect to
10
      recover statutory damages.
11

12                    Count Six: Contributory Copyright Infringement
                                  (against all Defendants)
13
            271. All of the preceding allegations are incorporated as if fully set forth
14

15    herein.
16
            272. Thothub, the Members, Cloudflare, and the Advertiser Defendants each
17

18
      know that Thothub, by and through its associates, routinely commits acts of

19    copyright infringement and that substantially all “unverified” content on Thothub
20
      constitute infringing works.
21

22
            273. Thothub and the Members induce, cause, or materially contribute to the

23    infringing conduct, among other things, by encouraging associates to commit
24
      copyright    infringement,     rewarding   associates   for   committing    copyright
25

26    infringement, assisting associates to avoid copyright enforcement, and providing a

27    platform for displaying stolen copyrighted works.
28


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 1          274. Cloudflare causes or materially contributes to the infringing conduct,
 2
      among other things, by distributing the stolen works through its content delivery
 3

 4    network, reproducing copies of the stolen works on its servers, and shielding the

 5    direct infringers from enforcement actions.
 6
            275. The Advertiser Defendants induce, cause, or materially contribute to
 7

 8    the infringing conduct, among other things, by knowingly providing funds that are

 9    necessary to support the infringing activity through the purchase of expensive web-
10
      hosting and content-delivery services.
11

12                     Count Seven: Induced Copyright Infringement
                  (against Thothub, the Members, and Advertiser Defendants)
13
            276. All of the preceding allegations are incorporated as if fully set forth
14

15    herein.
16
            277. Thothub, the Members, and the Advertiser Defendants have induced
17

18
      copyright infringement by, among other things, distributing stolen content

19    (including the Works) on Thothub and making instrumentalities of the Thothub site
20
      (including its servers, networks, and domain name) available for infringing use and
21

22
      promoting infringement by actively encouraging and assisting associates to steal

23    content from the Licensed Sites (including the Works).
24
            278. The Advertiser Defendants have induced Thothub to steal content from
25

26    the Licensed Sites, in particular, as a means of undermining their business

27    competition. Conversely, the Advertiser Defendants have used their power or
28


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 1    control over Thothub and the Members to induce them not to steal content from the
 2
      Advertiser Defendants.
 3

 4          279. As a result of Thothub, the Members’ and the Advertiser Defendants’

 5    assistance and inducement, Thothub and its associates have committed numerous
 6
      acts of infringement, including stealing, reproducing, distributing, and displaying
 7

 8    the Works.

 9                        Count Eight: Misappropriation of Likeness
10                  (against Thothub, the Members, and Advertiser Defendants)
11          280. All of the preceding allegations are incorporated as if fully set forth
12
      herein.
13
            281. Thothub, the Members, and the Advertiser Defendants used Plaintiff’s
14

15    name and likeness by, among other things, listing Plaintiff’s name in the Thothub
16
      glossary and elsewhere on Thothub, selling subscriptions to view content that
17

18
      includes images of Plaintiff, and using Plaintiff’s images to draw traffic to the

19    Advertiser Defendants’ sites.
20
            282. This misappropriation of Plaintiff’s name and likeness was done in part
21

22
      for the commercial advantage of Thothub, the Members, and the Advertiser

23    Defendants.
24
            283. Plaintiff did not consent to these uses of her name and likeness.
25

26

27

28


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 1           284. As a result of this misappropriation of Plaintiff’s name and likeness,
 2
      Plaintiff suffered injury including loss of subscriptions, unpaid royalties, and
 3

 4    reputational and emotional harm.

 5           285. Thothub,        the    Members,       and   the   Advertiser   Defendants’
 6
      misappropriation of Plaintiff’s name and likeness was done willfully and
 7

 8    maliciously or with wanton disregard for the harm that the misappropriation was

 9    likely to inflict, and has inflicted, on Plaintiff.
10
                               Count Nine: Unfair Competition
11                 (against Thothub, the Members, and Advertiser Defendants)
12
             286. All of the preceding allegations are incorporated as if fully set forth
13
      herein.
14

15           287. Thothub, the Members, and Advertiser Defendants commercially
16
      compete against creators from the Licensed Sites, including Plaintiff, in the business
17

18
      of online adult entertainment.

19           288. Plaintiff has invested substantial time and money in the development of
20
      her intellectual property, reputation, and business on the Licensed Sites and
21

22
      elsewhere.

23           289. Thothub, the Members, and Advertiser Defendants have appropriated
24
      Plaintiff’s property by using her name, likeness, reputation, fame, and intellectual
25

26    property as featured content and “click bait” to drive traffic and sales for their own

27    competing products and services.
28


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 1          290. They have also unfairly undermined competition from Plaintiff by
 2
      intentionally contributing to the leaking of her paywall content, which has caused
 3

 4    persons who would otherwise have purchased subscriptions to Plaintiff’s account on

 5    the Licensed Sites not to do so.
 6
            291. They have also falsely associated with Plaintiff and traded off of her
 7

 8    name, likeness, and reputation without authorization for their own commercial

 9    advantage.
10
            292. Plaintiff    has      been   injured   by   the   Advertiser   Defendants’
11

12    misappropriation through, among other things, lost sales, lost royalties for use of her
13    name and likeness, and harm to reputation. Defendants have also been unjustly
14
      enriched as a result of the misappropriation.
15

16           Count Ten: California Business & Professions Code § 17200 et seq.
               (against Thothub, the Members, and the Advertiser Defendants)
17

18
            293. All of the preceding allegations are incorporated as if fully set forth

19    herein.
20
            294. Thothub, the Members, and Advertiser Defendants commercially
21

22
      compete against creators from the Licensed Sites, including Plaintiff, in the business

23    of online adult entertainment.
24
            295. Plaintiff has invested substantial time and money in the development of
25

26    her intellectual property, commercial reputation, and business on the Licensed Sites

27    and elsewhere.
28


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 1          296. Thothub, the Members, and Advertiser Defendants have appropriated
 2
      Plaintiff’s property by using her name, likeness, reputation, fame, and intellectual
 3

 4    property as featured content and “click bait” to drive traffic and sales for their own

 5    competing products and services.
 6
            297. They have also unfairly undermined competition from Plaintiff by
 7

 8    intentionally contributing to the leaking of her paywall content, which has caused

 9    persons who would otherwise have purchased subscriptions to Plaintiff’s account on
10
      the Licensed Sites not to do so.
11

12          298. They have also falsely associated with Plaintiff and traded off of her
13    name, likeness, and reputation without authorization for their own commercial
14
      advantage.
15

16          299. Plaintiff    has   been    injured    by   the   Advertiser    Defendants’
17    misappropriation through, among other things, lost sales, lost royalties for use of her
18
      name and likeness, and harm to reputation.
19

20                      Count Eleven: Negligence / Gross Negligence
                                   (against Cloudflare)
21

22
            300. All of the preceding allegations are incorporated as if fully set forth

23    herein.
24
            301. Cloudflare owed a duty to Plaintiff as a result of its willful conduct in
25

26    providing certain storage, delivery, and security services for Thothub.

27

28


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 1          302. Cloudflare breached its duty to Plaintiff because it did not exercise
 2
      reasonable care to ensure that Plaintiff was not injured as a result of Cloudflare’s
 3

 4    willful conduct in providing these services to a Thothub, a notorious pirate site.

 5          303. As a result of Cloudflare’s failure to exercise reasonable care, Plaintiff
 6
      suffered injury to her business, reputation, and emotional well-being that she would
 7

 8    not otherwise have suffered.

 9          304. The injuries that Plaintiff suffered as the result of Cloudflare’s breach
10
      were a foreseeable consequence of Cloudflare’s breach and within the array of
11

12    predictable risks created by the breach.
13          305. Cloudflare’s failure to exercise reasonable care in respect of the
14
      services it provided Thothub was done with malice or wanton disregard for
15

16    Plaintiff’s interests and represented an extreme and unjustified departure from the
17    ordinary standards of reasonable care.
18
                                       VIII. JURY DEMAND
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20          306. Plaintiff demands a jury trial on all issues that may be tried before a
21    jury in this matter and has submitted the jury fee.
22
                                 IX.    PRAYER FOR RELIEF
23

24          WHEREFORE, Plaintiff requests that the Court grant the following relief:
25
               a. Order Cloudflare and the Advertiser Defendants to disclose information
26                in their possession, custody, or control that may be used to ascertain the
                  identity of Thothub and the Members;
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 1             b. Preliminarily and permanently enjoin Defendants from continuing to
 2                infringe Plaintiff’s copyrights or use Plaintiff’s name or likeness for
                  any purpose, and from continuing to provide services or support that
 3                enables such infringement or use;
 4
               c. Award Plaintiff her actual damages suffered as a result of the unlawful
 5                conduct described herein and/or statutory damages under the Copyright
                  Act and California Business & Professions Code 17200 et seq.;
 6

 7             d. Award Plaintiff treble damages for injuries to her business or property
                  that resulted from Defendants’ racketeering activity describe herein,
 8                pursuant to the RICO Act;
 9
               e. Award Plaintiff any profits obtained by any Defendant as a result of the
10                direct and indirect copyright infringement of her works described
                  herein;
11

12             f. Disgorge any other ill-gotten gains from the Defendants and award
                  them to Plaintiff;
13
               g. Award Plaintiff punitive or exemplary damages in an amount sufficient
14
                  to deter Defendants from committing further unlawful acts;
15
               h. Award Plaintiff her reasonable attorneys’ fees and costs of suit; and
16
               i. Grant such other relief as the Court finds just and proper.
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 1    Dated: August 3, 2020               Respectfully submitted,
 2
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 3
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 4
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16

17                                        /s/ Charles Reiter
18
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20
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21                                        ATTORNEYS FOR PLAINTIFF
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 1                              CERTIFICATE OF SERVICE
 2
               The undersigned hereby certifies that attempted service of this complaint
 3
         will be made on each of the identified Defendants at the addresses provided in
 4

 5       Section II above.
 6
                                            /s/ Charles Reiter
 7                                         Charles Reiter
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